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                18-1468-cr (L)
               18-1916-cr (con)
               18-2795-cr (con)
            ___________________________________________
              UNITED STATES COURT OF APPEALS
                   FOR THE SECOND CIRCUIT
            ___________________________________________
                  UNITED STATES OF AMERICA,

                                               Appellee,
                                 -v-

                           Tammy M. Martin,

                                          Defendant,
                 __________________________________

                CLIF J. SEAWAY, TAMMY LAMERE,

                                         Defendants-Appellants.
            ___________________________________________

   ON APPEAL FROM THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF NEW YORK
__________________________________________________________________
            APPENDIX FOR DEFENDANT-APPELLANT
                          CLIF J. SEAWAY
__________________________________________________________________
LISA A. PEEBLES                     Office of the Federal Public Defender
Federal Public Defender             4 Clinton Square, 3rd Floor
MELISSA A. TUOHEY, on brief         Syracuse, New York 13202
Assistant Federal Public Defender   315.701.0080
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    The Statement of Reasons has been filed under seal in this Court.


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                                U.S. District Court
    Northern District of New York - Main Office (Syracuse) [NextGen CM/ECF
                       Release 1.2 (Revision 1.2)] (Syracuse)
     CRIMINAL DOCKET FOR CASE #: 5:16-cr-00339-NAM All Defendants


Case title: USA v. Seaway et al                             Date Filed: 11/17/2016
Magistrate judge case numbers: 5:16-mj-00090-TWD            Date Terminated: 06/12/2018
                                5:16-mj-00092-TWD


Assigned to: Senior Judge Norman A.
Mordue

Defendant (1)
Clif J. Seaway                               represented by Courtenay K. McKeon
TERMINATED: 05/08/2018                                      Office of the Federal Public Defender -
                                                            Syracuse Office
                                                            Northern District of New York
                                                            4 Clinton Square, 3rd Floor
                                                            Syracuse, NY 13202
                                                            315-701-0080
                                                            Fax: 315-701-0081
                                                            Email: courtenay_mckeon@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or
                                                            Community Defender Appointment

                                                            Randi Juda Bianco
                                                            Office of the Federal Public Defender -
                                                            Syracuse Office
                                                            Districts of Northern New York &
                                                            Vermont
                                                            The Clinton Exchange, 3rd Floor
                                                            4 Clinton Square
                                                            Syracuse, NY 13202
                                                            315-701-0080
                                                            Fax: 315-701-0081
                                                            Email: randi_bianco@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or




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                                                          Community Defender Appointment

                                                          James F. Greenwald
                                                          Office of the Federal Public Defender -
                                                          Syracuse Office
                                                          Districts of Northern New York &
                                                          Vermont
                                                          The Clinton Exchange, 3rd Floor
                                                          4 Clinton Square
                                                          Syracuse, NY 13202
                                                          315-701-0080
                                                          Fax: 315-701-0081
                                                          Email: james.greenwald@fd.org
                                                          TERMINATED: 09/12/2016
                                                          Designation: Public Defender or
                                                          Community Defender Appointment

                                                          Juan J. Rodriguez , II
                                                          Office of the Federal Public Defender -
                                                          Syracuse Office
                                                          Northern District of New York
                                                          4 Clinton Square, 3rd Floor
                                                          Syracuse, NY 13202
                                                          315-701-0080
                                                          Fax: 315-701-0081
                                                          Email: juan_rodriguez@fd.org
                                                          TERMINATED: 07/20/2017
                                                          Designation: Public Defender or
                                                          Community Defender Appointment

Pending Counts                                            Disposition
                                                          4,320 months (or 360 years) This term
18:2251.F -SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(1)
                                                          each count to run concurrently.
                                                          4,320 months (or 360 years) This term
18:2251.F -SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(2)
                                                          each count to run concurrently.
                                                          4,320 months (or 360 years) This term
18:2251.F -SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(3)
                                                          each count to run concurrently.




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18:2251.F -SEXUAL EXPLOITATION                            4,320 months (or 360 years) This term
OF CHILDREN with forfeiture                               consists of 360 months on each count of
allegation                                                conviction: all to run consecutively with
(4)                                                       each other. Supervised release of life on
                                                          each count to run concurrently.
                                                          4,320 months (or 360 years) This term
18:2251.F -SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(5)
                                                          each count to run concurrently.
                                                          4,320 months (or 360 years) This term
18:2251.F -SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(6)
                                                          each count to run concurrently.
                                                          4,320 months (or 360 years) This term
18:2251.F -SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(7)
                                                          each count to run concurrently.

Highest Offense Level (Opening)
Felony

Terminated Counts                                         Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                Disposition
18:2251.F SEXUAL EXPLOITATION
OF CHILDREN


Assigned to: Senior Judge Norman A.
Mordue

Defendant (2)
Tammy M. Martin                             represented by H. Dana VanHee
TERMINATED: 06/12/2018                                     Law Office of H. Dana Vanhee PLLC
                                                           P.O. Box 712
                                                           Syracuse, NY 13206
                                                           315-422-5655
                                                           Fax: 315-295-2690



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                                                             Email: dana@vanheelaw.com
                                                             LEAD ATTORNEY
                                                             ATTORNEY TO BE NOTICED
                                                             Designation: CJA Appointment

Pending Counts                                               Disposition
                                                             Imprisonment of 360 months on each of
18:2251.F -SEXUAL EXPLOITATION                               Counts 2, 3, and 4 of the Indictment to
OF CHILDREN with forfeiture                                  be served consecutively for a total of
allegation                                                   1080 months (90 years total);
(2)                                                          Supervised Release of Life on each
                                                             count to be served concurrently.
                                                             Imprisonment of 360 months on each of
18:2251.F -SEXUAL EXPLOITATION                               Counts 2, 3, and 4 of the Indictment to
OF CHILDREN with forfeiture                                  be served consecutively for a total of
allegation                                                   1080 months (90 years total);
(3)                                                          Supervised Release of Life on each
                                                             count to be served concurrently.
                                                             Imprisonment of 360 months on each of
18:2251.F -SEXUAL EXPLOITATION                               Counts 2, 3, and 4 of the Indictment to
OF CHILDREN with forfeiture                                  be served consecutively for a total of
allegation                                                   1080 months (90 years total);
(4)                                                          Supervised Release of Life on each
                                                             count to be served concurrently.

Highest Offense Level (Opening)
Felony

Terminated Counts                                            Disposition
18:2251.F -SEXUAL EXPLOITATION
OF CHILDREN with forfeiture                                  Dismissed on motion of the
allegation                                                   Government
(1)

Highest Offense Level (Terminated)
Felony

Complaints                                                   Disposition
18:2251.F SEXUAL EXPLOITATION
OF CHILDREN



Plaintiff
USA                                         represented by



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                                                           Carina Hyatt Schoenberger
                                                           U.S. Attorney's Office - Syracuse, NY
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                                                           315-448-0672
                                                           Fax: 315-448-0658
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                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant US Attorney

                                                           Lisa M. Fletcher
                                                           Office of the United States Attorney -
                                                           Syracuse
                                                           P.O. Box 7198
                                                           100 South Clinton Street
                                                           Syracuse, NY 13261-7198
                                                           315-448-0672
                                                           Fax: 315-448-0658
                                                           Email: lisa.fletcher@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant US Attorney

                                                           Tamara Thomson
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                                                           100 South Clinton Street
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                                                           Syracuse, NY 13261
                                                           315-448-0672
                                                           Fax: 315-448-0658
                                                           Email: tamara.thomson@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Retained


 Date Filed      #    Docket Text
 03/02/2016       1 COMPLAINT as to Tammy M. Martin (1). (sg) [5:16-mj-00092-TWD]
                    (Entered: 03/02/2016)
 03/02/2016       3 APPLICATION for Writ of Habeas Corpus ad prosequendum by USA as to
                    Tammy M. Martin. (sg) [5:16-mj-00092-TWD] (Entered: 03/02/2016)
 03/02/2016       4 ORDER granting 3 Application for Writ of Habeas Corpus ad prosequendum
                    as to Tammy M. Martin (1). Defendant to appear on 3/3/2016 in U.S. District
                    Court. Signed by Magistrate Judge Therese Wiley Dancks on 3/2/2016. (sg)
                    [5:16-mj-00092-TWD] (Entered: 03/02/2016)




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 03/02/2016       1 COMPLAINT as to Clif J. Seaway (1). (sg) [5:16-mj-00090-TWD] (Entered:
                    03/02/2016)
 03/02/2016       3 APPLICATION for Writ of Habeas Corpus ad prosequendum by USA as to
                    Clif J. Seaway, submitted to Magistrate Judge Therese Wiley Dancks. (sg)
                    [5:16-mj-00090-TWD] (Entered: 03/02/2016)
 03/02/2016       4 ORDER granting 3 Application for Writ of Habeas Corpus ad prosequendum
                    as to Clif J. Seaway (1). Defendant to appear on 3/3/2016 at 10:00AM in U.S.
                    District Court. Signed by Magistrate Judge Therese Wiley Dancks on 3/2/2016.
                    (sg) [5:16-mj-00090-TWD] (Entered: 03/02/2016)
 03/03/2016           TEXT Minute Entry for proceedings held before Magistrate Judge Therese
                      Wiley Dancks:Initial Appearance as to Tammy M. Martin held on 3/3/2016.
                      Appearances: AUSA Lisa Fletcher for the Government; Dana VanHee, Esq. for
                      Defendant; USPO Ellen Phillips. Defendant appears with counsel, copy of the
                      complaint provided. Defendant is advised of rights, charges and maximum
                      penalties if convicted. Financial Affidavit is submitted. Judge Dancks finds that
                      defendant does qualify for court appointed counsel, and appoints Attorney
                      VanHee as CJA counsel to defendant. Government moves for detention.
                      Defendant waives immediate Detention Hearing and Preliminary Hearing,
                      reserving rights to reapply to the Court for scheduling of same. Court accepts
                      Defendant's waiver of immediate Detention Hearing and Preliminary Hearing
                      as knowing and voluntary. Defendant remanded to the custody of the U.S.
                      Marshals. (Court Reporter (Diane Martens: 10:41AM-10:46AM) (sg) [5:16-mj-
                      00092-TWD] (Entered: 03/03/2016)
 03/03/2016       5 CJA 20 appointing H. Dana VanHee, Esq. as CJA appointed counsel to
                    defendant Tammy M. Martin. Refer to the Court's website:
                    http://www.nynd.uscourts.gov/cja.cfm for comprehensive information relating
                    to court appointed representation. Attorneys are reminded that CJA vouchers
                    are to be submitted to the court no later than 45 days after the final disposition
                    of the case, unless good cause is shown. Please refer to Appendix II of the CJA
                    Plan (Guidelines for Submitting Claims for Reimbursement Pursuant to the
                    Criminal Justice Act of the Northern District of New York). SO ORDERED by
                    Magistrate Judge Therese Wiley Dancks on 3/3/2016. (sg) [5:16-mj-00092-
                    TWD] (Entered: 03/03/2016)
 03/03/2016       6 Arrest Warrant issued on 3/2/2016 by Magistrate Judge Therese Wiley Dancks
                    returned Executed on 3/3/2016 in case as to Tammy M. Martin, signed by
                    William Saunders. (sg) [5:16-mj-00092-TWD] (Entered: 03/03/2016)
 03/03/2016       7 NOTICE OF ATTORNEY APPEARANCE: Carina Hyatt Schoenberger
                    appearing for USA (Schoenberger, Carina) [5:16-mj-00092-TWD] (Entered:
                    03/03/2016)
 03/03/2016           TEXT Minute Entry for proceedings held before Magistrate Judge Therese
                      Wiley Dancks:Initial Appearance as to Clif J. Seaway held on 3/3/2016.
                      Appearances: AUSA Lisa Fletcher for the Government; AFPD James
                      Greenwald for Defendant; USPO Ellen Phillips. Defendant appears with
                      counsel, copy of the complaint provided. Defendant is advised of rights,
                      charges and maximum penalties if convicted. Financial Affidavit is submitted.




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                      Judge Dancks finds that defendant does qualify for court appointed counsel and
                      appoints Office of the Federal Public Defender. Government moves for
                      detention. Defendant waives immediate Detention Hearing and Preliminary
                      Hearing, reserving rights to make an application for such hearings with
                      appropriate notice to the Government. Court accepts Defendant's waiver of an
                      immediate Detention Hearing and Preliminary Hearing as knowing and
                      voluntary. Defendant remanded to the custody of the U.S. Marshals.(Court
                      Reporter Diane Martens: 10:26AM-10:33AM) (sg)[5:16-mj-00090-TWD]
                      (Entered: 03/03/2016)
 03/03/2016       5 Arrest Warrant issued on 3/2/2016 by Magistrate Judge Therese Wiley Dancks
                    returned Executed on 3/3/2016 in case as to Clif J. Seaway, signed by Lon
                    Ziankoski, Special Agent, Homeland Security Investigations. (sg) [5:16-mj-
                    00090-TWD] (Entered: 03/03/2016)
 03/03/2016       6 TEXT ORDER APPOINTING OFFICE OF THE FEDERAL PUBLIC
                    DEFENDER as to Clif J. Seaway. Because the named defendant has testified
                    under oath or has otherwise satisfied this court that he or she (1) is financially
                    unable to employ counsel and (2) does not wish to waive counsel, and because
                    the interests of justice so require, it is hereby ORDERED, that The Office of
                    the Federal Public Defender for the Northern District of New York is assigned
                    representation of the named defendant and shall file a notice of appearance
                    with the Clerk of Court. SO ORDERED by Magistrate Judge Therese Wiley
                    Dancks on 3/3/2016. (sg) [5:16-mj-00090-TWD] (Entered: 03/03/2016)
 03/03/2016       7 NOTICE OF ATTORNEY APPEARANCE: Carina Hyatt Schoenberger
                    appearing for USA (Schoenberger, Carina) [5:16-mj-00090-TWD] (Entered:
                    03/03/2016)
 03/07/2016       8 NOTICE OF ATTORNEY APPEARANCE: Randi Juda Bianco appearing for
                    Clif J. Seaway (Bianco, Randi) [5:16-mj-00090-TWD] (Entered: 03/07/2016)
 03/08/2016       9 STIPULATION by USA to 90 day extension of time (Schoenberger, Carina)
                    [5:16-mj-00090-TWD] (Entered: 03/08/2016)
 03/08/2016      10 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to Clif J.
                    Seaway : Time excluded from 3/8/2016 until 6/6/2016. Signed by Magistrate
                    Judge Therese Wiley Dancks on 3/8/2016. (sg) [5:16-mj-00090-TWD]
                    (Entered: 03/08/2016)
 03/09/2016       8 STIPULATION by USA to 90 day extension of time (Schoenberger, Carina)
                    [5:16-mj-00092-TWD] (Entered: 03/09/2016)
 03/09/2016       9 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to
                    Tammy M. Martin : Time excluded from 3/9/2016 until 6/7/2016. Signed by
                    Magistrate Judge Therese Wiley Dancks on 3/9/2016. (sg) [5:16-mj-00092-
                    TWD] (Entered: 03/09/2016)
 06/03/2016      11 STIPULATION by USA to 90 day extension of time (Schoenberger, Carina)
                    [5:16-mj-00090-TWD] (Entered: 06/03/2016)
 06/06/2016      12 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to Clif J.
                    Seaway : Time excluded from 6/6/2016 until 9/6/2016. Signed by Magistrate




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                      Judge Therese Wiley Dancks on 6/6/2016. (sg) [5:16-mj-00090-TWD]
                      (Entered: 06/06/2016)
 06/07/2016      10 STIPULATION by USA to 90 day extension of time (Schoenberger, Carina)
                    [5:16-mj-00092-TWD] (Entered: 06/07/2016)
 06/07/2016      11 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to
                    Tammy M. Martin : Time excluded from 6/7/2016 until 9/6/2016. Signed by
                    Magistrate Judge Therese Wiley Dancks on 6/7/2016. (sg) [5:16-mj-00092-
                    TWD] (Entered: 06/08/2016)
 09/02/2016      13 STIPULATION by USA to 60 Day Extension of Time (Fletcher, Lisa) [5:16-
                    mj-00090-TWD] (Entered: 09/02/2016)
 09/06/2016      12 STIPULATION by USA to 60 Day Extension of Time (Schoenberger, Carina)
                    [5:16-mj-00092-TWD] (Entered: 09/06/2016)
 09/08/2016      13 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to
                    Tammy M. Martin : Time excluded from 9/6/2016 until 11/5/2016. Signed by
                    Magistrate Judge Therese Wiley Dancks on 9/6/2016. (sg) [5:16-mj-00092-
                    TWD] (Entered: 09/08/2016)
 09/08/2016      14 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to Clif J.
                    Seaway : Time excluded from 9/6/2016 until 11/5/2016. Signed by Magistrate
                    Judge Therese Wiley Dancks on 9/6/2016. (sg) [5:16-mj-00090-TWD]
                    (Entered: 09/08/2016)
 11/02/2016      15 STIPULATION by USA to 60 Day Extension of Time (Fletcher, Lisa) [5:16-
                    mj-00090-TWD] (Entered: 11/02/2016)
 11/02/2016      16 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to Clif J.
                    Seaway: Time excluded from 11/5/2016 until 1/4/2017. Signed by Magistrate
                    Judge Therese Wiley Dancks on 11/2/2016. (sg) [5:16-mj-00090-TWD]
                    (Entered: 11/02/2016)
 11/03/2016      14 STIPULATION by USA to 60 Day Extension of Time (Fletcher, Lisa) [5:16-
                    mj-00092-TWD] (Entered: 11/03/2016)
 11/04/2016      15 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to
                    Tammy M. Martin : Time excluded from 11/5/2016 until 1/4/2017. Signed by
                    Magistrate Judge Therese Wiley Dancks on 11/3/2016. (sg) [5:16-mj-00092-
                    TWD] (Entered: 11/04/2016)
 11/17/2016      17 INDICTMENT as to Clif J. Seaway (1) count(s) 1-7, Tammy M. Martin (2)
                    count(s) 1-4, with Forfeiture Allegation. (sg) (Entered: 11/18/2016)
 11/17/2016           TEXT Minute Entry for proceedings held before Magistrate Judge Therese
                      Wiley Dancks on 11/17/2016: GRAND JURY makes a partial report and
                      returns Indictment as to Clif J. Seaway and Tammy M. Martin. No special
                      requests. Tally Sheet is ordered sealed. (Court Reporter S. Byrne) (sg)
                      (Entered: 11/18/2016)
 11/18/2016      18 TEXT NOTICE to Counsel for Defendant CLIF J. SEAWAY: An 17
                    Indictment dated 11/17/2016 has been filed with the Court. In the event
                    Defendant Seaway wishes to waive appearance for an arraignment, both the



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                      Defendant and Defendant's counsel must complete and electronically file with
                      the Court the attached form by 11/30/2016. If the Court does not receive the
                      form by that date the Court will IMMEDIATELY schedule the arraignment of
                      your client. Because of Speedy Trial issues, the Court appearance for
                      arraignment may be scheduled with very little advanced notice. (sg) (Entered:
                      11/18/2016)
 11/18/2016      19 TEXT NOTICE to Counsel for Defendant TAMMY M. MARTIN: An 17
                    Indictment dated 11/17/2016 has been filed with the Court. In the event
                    Defendant Martin wishes to waive appearance for an arraignment, both the
                    Defendant and Defendant's counsel must complete and electronically file with
                    the Court the attached form by 11/30/2016. If the Court does not receive the
                    form by that date the Court will IMMEDIATELY schedule the arraignment of
                    your client. Because of Speedy Trial issues, the Court appearance for
                    arraignment may be scheduled with very little advanced notice. (sg, ) (Entered:
                    11/18/2016)
 12/02/2016      20 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not
                    Guilty by Clif J. Seaway (Bianco, Randi) (Entered: 12/02/2016)
 12/05/2016      21 TEXT ORDER approving 20 Waiver of Presence at Arraignment and entry of
                    plea of not guilty to 17 Indictment as to defendant Clif J. Seaway. SO
                    ORDERED by Magistrate Judge Therese Wiley Dancks on 12/5/2016. (sg)
                    (Entered: 12/05/2016)
 12/08/2016      22 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not
                    Guilty by Tammy M. Martin, filed by Dana VanHee. (sg) (Entered:
                    12/08/2016)
 12/08/2016      23 TEXT ORDER approving 22 Waiver of Presence at Arraignment and entry of
                    plea of not guilty to 17 Indictment as to Tammy M. Martin. SO ORDERED by
                    Magistrate Judge Therese Wiley Dancks on 12/8/2016. (sg) (Entered:
                    12/08/2016)
 12/08/2016      24 CRIMINAL PRETRIAL SCHEDULING ORDER as to Clif J. Seaway and
                    Tammy M. Martin: Motions to be filed by 1/5/2017. Jury Trial set for 2/6/2017
                    at 9:30 AM in Syracuse before Senior Judge Norman A. Mordue. Signed by
                    Magistrate Judge Therese Wiley Dancks on 12/8/2016. (sg) (Entered:
                    12/08/2016)
 12/14/2016      25 STIPULATION by USA to 90 Day Extension of Time (Fletcher, Lisa)
                    (Entered: 12/14/2016)
 12/16/2016      26 ORDER TO CONTINUE - Ends of Justice as to Clif J. Seaway, and Tammy
                    M. Martin. Time excluded from 12/16/16 until 3/15/17. Jury Trial is set for
                    5/1/2017 at 09:00 AM in Syracuse before Senior Judge Norman A. Mordue.
                    Motions to be filed by 2/28/2017. Signed by Senior Judge Norman A. Mordue
                    on 12/16/16. (jlm) (Entered: 12/16/2016)
 02/28/2017      27 MOTION to Suppress by Clif J. Seaway. Motion Hearing set for 4/5/2017 at
                    10:00 AM in Syracuse before Senior Judge Norman A. Mordue Response to
                    Motion due by 3/20/2017. No Reply Permitted. (Attachments: #(1)




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                      Memorandum of Law, #(2) Exhibit(s))(Bianco, Randi) (Attachment 2 replaced
                      on 3/21/2017) Modified on 3/21/2017 (jlm). (Entered: 02/28/2017)
 03/15/2017      28 Letter as to Clif J. Seaway requesting To File Government Response to Motion
                    on March 24, 2017 (Fletcher, Lisa) (Entered: 03/15/2017)
 03/17/2017      29 TEXT ORDER as to Clif J. Seaway. The 28 Letter Request filed by Lisa
                    Fletcher, AUSA requesting a 4-day extension to respond to the motion.
                    Response to the 27 Motion to Suppress is due by 3/24/2017. No reply is
                    permitted. Endorsed/Signed by Senior Judge Norman A. Mordue on 3/17/17.
                    (jlm) (Entered: 03/17/2017)
 03/21/2017           CLERK'S CORRECTION OF DOCKET ENTRY re 27 Motion to Suppress.
                      Exhibits replaced with a redaction. (jlm) (Entered: 03/21/2017)
 03/24/2017      30 RESPONSE in Opposition by USA as to Clif J. Seaway re 27 MOTION to
                    Suppress (Fletcher, Lisa) (Additional attachment(s) added on 3/24/2017: # 1
                    Exhibit 1 - Sealed) (jlr, ). (Entered: 03/24/2017)
 03/24/2017      31 Letter APPLICATION from Lisa M. Fletcher, AUSA as to Clif J. Seaway
                    requesting To seal Exhibit 1 of the 28 Response. (jlm) (Entered: 03/24/2017)
 03/24/2017      32 Order to Seal Document (Exhibit 1) of the Government's 28 Response as to
                    Clif J. Seaway. Signed by Senior Judge Norman A. Mordue on 3/24/17. (jlm)
                    (Entered: 03/24/2017)
 04/04/2017           TEXT NOTICE - The 27 MOTION to Suppress by Clif J. Seaway is on
                      submit. NO appearances. The is No oral argument on the scheduled motion
                      return date, unless Judge Mordue's chambers sua sponte directs and schedules
                      oral argument. (Entered: 04/04/2017)
 05/16/2017      33 NOTICE OF ATTORNEY APPEARANCE: Juan J. Rodriguez, II appearing
                    for Clif J. Seaway as Co-Counsel with/for Attorney: Randi J. Bianco, AFPD
                    (Rodriguez, Juan) (Entered: 05/16/2017)
 06/22/2017      34 ORDER denying the defendant's 27 Motion to Suppress as to Clif J. Seaway
                    (1). The period from March 15, 2017 until the date of the decision herein
                    onJune 22, 2017 is excluded in computing time under the Speedy Trial Act in
                    the interests of justice. Signed by Senior Judge Norman A. Mordue on 6/22/17.
                    (jlm) (Entered: 06/22/2017)
 07/10/2017      35 STIPULATION by USA to 115 Day Extension of Time (Fletcher, Lisa)
                    (Entered: 07/10/2017)
 07/10/2017      36 ORDER TO CONTINUE - Ends of Justice as to Clif J. Seaway, and Tammy
                    M. Martin. Time excluded from 7/10/17 until 10/25/17. Firm Date: Jury Trial
                    reset for 10/25/2017 at 09:00 AM in Syracuse before Senior Judge Norman A.
                    Mordue. Signed by Senior Judge Norman A. Mordue on 7/10/17. (jlm)
                    (Entered: 07/10/2017)
 07/20/2017      37 NOTICE OF ATTORNEY APPEARANCE: Courtenay K. McKeon appearing
                    for Clif J. Seaway as substituted with/for Attorney: Juan J. Rodriguez, Esq.
                    (McKeon, Courtenay) (Entered: 07/20/2017)
 07/20/2017



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                      Attorney update in case as to Clif J. Seaway. Attorney Juan J. Rodriguez, II
                      terminated pursuant to 37 Notice of Appearance. (jel, ) (Entered: 07/20/2017)
 07/31/2017      38 NOTICE OF HEARING as to Clif J. Seaway, Tammy M. Martin. The Jury
                    Trial is set for 10/25/2017 at 09:00 AM in Syracuse before Senior Judge
                    Norman A. Mordue. This is a FIRM trial date. Counsel shall file All Court
                    Order Pretrial Papers on or before 10/2/2017. (jlm) (Entered: 07/31/2017)
 08/11/2017           TEXT NOTICE CONFIRMING THE CHANGE OF PLEA HEARING as to
                      Tammy M. Martin. The Change of Plea Hearing is set for 8/21/2017 at 11:30
                      AM in Syracuse before Senior Judge Norman A. Mordue. (jlm) (Entered:
                      08/11/2017)
 08/21/2017      39 NOTICE OF ATTORNEY APPEARANCE: Carina Hyatt Schoenberger
                    appearing for USA as co-counsel with Attorney Lisa M. Fletcher
                    (Schoenberger, Carina) (Entered: 08/21/2017)
 08/21/2017           TEXT Minute Entry for Change of Plea Hearing as to Tammy M. Martin held
                      on 8/21/2017 before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher,
                      AUSA; Corina Schoenberger, AUSA; Dana Vanhee, Esq. Plea entered by
                      Tammy M. Martin (2) of to Guilty to Counts 2-4. Correction on the record to
                      the defendant's middle initial on page 2 of the Indictment from L. to M.
                      Defendant admits to forfeiture allegations; Plea Agreement Accepted and
                      incorporated into the record as to Tammy M. Martin. Defendant remanded.
                      (Court Reporter Eileen McDonough) (jlm) (Entered: 08/21/2017)
 08/21/2017      40 PLEA AGREEMENT as to Tammy M. Martin (jlm) (Entered: 08/21/2017)
 08/21/2017      41 GUIDELINE ORDER as to Tammy M. Martin. Sentencing is set for 1/8/2018
                    at 10:00 AM in Syracuse before Senior Judge Norman A. Mordue.
                    Government and Defendant Sentencing Memo Deadline 12/18/2017. Signed by
                    Senior Judge Norman A. Mordue on 08/21/2017. All letters of support shall be
                    electronically filed in accordance with General Order # 52, and filed on or
                    before 12/18/2017. (jlm) (Entered: 08/21/2017)
 09/05/2017      42 MOTION to Consolidate Cases by USA as to Clif J. Seaway. Motion Hearing
                    set for 10/4/2017 10:00 AM in Syracuse before Senior Judge Norman A.
                    Mordue Response to Motion due by 9/18/2017 Reply to Response to Motion
                    due by 9/25/2017. (Fletcher, Lisa) (Entered: 09/05/2017)
 09/07/2017           TEXT NOTICE TO COUNSEL: The 42 Motion will be heard on submission
                      of the papers. No reply is permitted. (rjb, ) (Entered: 09/07/2017)
 09/08/2017      43 RESPONSE to Motion by Clif J. Seaway re 42 MOTION to Consolidate Cases
                    (Bianco, Randi) (Entered: 09/08/2017)
 09/18/2017      44 Letter Motion from AUSA Lisa Fletcher Requesting the Court to Send
                    Attached Questionnaire to Prospective Jurors as to Clif J. Seaway
                    (Attachments: # 1 Juror Questionnaire)(Fletcher, Lisa) Modified on 9/20/2017
                    (jlm). (Entered: 09/18/2017)
 09/19/2017      45 Letter motion from Randi J. Bianco, Esq. as to Clif J. Seaway requesting list of
                    names of jury pool (Bianco, Randi) Modified on 10/2/2017 (jlm). (Entered:
                    09/19/2017)



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 09/20/2017      46 ORDER granting 42 Motion to Consolidate Cases as to Clif J. Seaway (1) for
                    trial; granting the 44 Joint Letter Motion as to Clif J. Seaway (1) to send a
                    questionnaire, which has been approved by both parties, to the prospective
                    jurors in advance of trial. Case no. 5:16-cr-0339 is now designated as the lead
                    case as to Defendant Clif Seaway for trial purposes. ALL FUTURE FILINGS
                    as to Defendant SEAWAY MUST BE FILED ONLY IN THE LEAD CASE,
                    5:16-CR-339. NO FURTHER FILINGS SHALL BE DOCKETED IN THE
                    MEMBER CASE as to Defendant Seaway, 5:16-CR-340. Signed by Senior
                    Judge Norman A. Mordue on 9/20/2017.(jlm) (Entered: 09/20/2017)
 09/25/2017      47 NOTICE OF ATTORNEY APPEARANCE: Tamara Thomson appearing for
                    USA as co-counsel with Attorney Lisa M. Fletcher for the forfeiture aspects of
                    the case (Thomson, Tamara) (Entered: 09/25/2017)
 09/26/2017      48 Court Ordered Questionnaire as to Clif J. Seaway (Fletcher, Lisa) (Entered:
                    09/26/2017)
 09/26/2017      49 EXHIBIT LIST by USA as to Clif J. Seaway (Fletcher, Lisa) (Entered:
                    09/26/2017)
 09/26/2017      50 Proposed Jury Instructions by USA as to Clif J. Seaway (Fletcher, Lisa)
                    (Entered: 09/26/2017)
 09/26/2017      51 PROPOSED VERDICT FORM by USA as to Clif J. Seaway (Fletcher, Lisa)
                    (Entered: 09/26/2017)
 09/26/2017      52 Proposed Voir Dire by USA as to Clif J. Seaway (Fletcher, Lisa) (Entered:
                    09/26/2017)
 09/26/2017      53 TRIAL BRIEF by USA as to Clif J. Seaway (Fletcher, Lisa) (Entered:
                    09/26/2017)
 09/26/2017      54 WITNESS LIST by USA as to Clif J. Seaway (Fletcher, Lisa) (Entered:
                    09/26/2017)
 09/26/2017      55 Certificate of Service by USA as to Clif J. Seaway re 49 Exhibit List, 54
                    Witness List, 48 Court Ordered Questionnaire, 52 Proposed Voir Dire, 50
                    Proposed Jury Instructions, 51 Proposed Verdict Form, 53 Trial Brief
                    (Fletcher, Lisa) (Entered: 09/26/2017)
 09/29/2017      56 WITNESS LIST by Clif J. Seaway (McKeon, Courtenay) (Entered:
                    09/29/2017)
 09/29/2017      57 Court Ordered Questionnaire as to Clif J. Seaway (McKeon, Courtenay)
                    (Entered: 09/29/2017)
 09/29/2017      58 Proposed Voir Dire by Clif J. Seaway (McKeon, Courtenay) (Entered:
                    09/29/2017)
 09/29/2017      59 Proposed Jury Instructions by Clif J. Seaway (McKeon, Courtenay) (Entered:
                    09/29/2017)
 10/02/2017      60 Proposed Jury Instructions as to the forfeiture aspect of the case by USA as to
                    Clif J. Seaway (Thomson, Tamara) (Entered: 10/02/2017)




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 10/02/2017      61 PROPOSED VERDICT FORM as to the forfeiture aspects of the case by USA
                    as to Clif J. Seaway (Attachments: # 1 Special verdict form 16-cr-340)
                    (Thomson, Tamara) (Entered: 10/02/2017)
 10/02/2017      62 TRIAL BRIEF by USA as to Clif J. Seaway (Thomson, Tamara) (Entered:
                    10/02/2017)
 10/02/2017      63 TEXT ORDER granting the 45 Motion as to Clif J. Seaway (1) for the list of
                    names of the petit jury pool in advance of jury selection. So Ordered by Senior
                    Judge Norman A. Mordue on 10/2/17.(jlm) (Entered: 10/02/2017)
 10/02/2017      64 TRIAL BRIEF by Clif J. Seaway (McKeon, Courtenay) (Entered: 10/02/2017)
 10/02/2017      65 SEALED application - maintained in Clerk's Office and not available for
                    electronic viewing (jlm) (Entered: 10/02/2017)
 10/02/2017      66 SEALED SEALING ORDER - maintained in Clerk's Office and not available
                    for electronic viewing (jlm) (Entered: 10/02/2017)
 10/02/2017      67 SEALED WITNESS LIST - GOV'T - maintained in Clerk's Office and not
                    available for electronic viewing (jlm) (Entered: 10/02/2017)
 10/02/2017      68 SEALED COURT ORDERED VOIR DIRE BY GOV'T - maintained in
                    Clerk's Office and not available for electronic viewing (jlM) (Entered:
                    10/02/2017)
 10/02/2017      69 Letter from the Government Requesting List of Prospective Jurors as to Clif J.
                    Seaway (Fletcher, Lisa) (Entered: 10/02/2017)
 10/03/2017      70 TEXT ORDER as to Clif J. Seaway re 69 Letter Motion from the Government
                    Requesting List of Prospective Jurors as to Clif J. Seaway. So Ordered by
                    Senior Judge Norman A. Mordue on 10/3/17. (jlm) (Entered: 10/03/2017)
 10/12/2017      71 Letter from the Government Requesting that a Pretrial Conference be
                    Scheduled as to Clif J. Seaway (Fletcher, Lisa) (Entered: 10/12/2017)
 10/17/2017      72 STATUS REPORT Bill of Particulars by USA as to Clif J. Seaway (Thomson,
                    Tamara) (Entered: 10/17/2017)
 10/17/2017      73 STATUS REPORT in response to the Government's request for pretrial
                    conference (Dkt. No. 71) by Clif J. Seaway (McKeon, Courtenay) (Entered:
                    10/17/2017)
 10/17/2017           TEXT NOTICE OF HEARING as to Clif J. Seaway. An in-person Pretrial
                      Conference is set for 10/18/2017 at 4:15 PM in Syracuse before Senior Judge
                      Norman A. Mordue. (jlm) (Entered: 10/17/2017)
 10/18/2017           TEXT Minute Entry for Pretrial Conference as to Clif J. Seaway held on
                      10/18/2017 before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher,
                      AUSA Carina Schoenberger, AUSA; Courtenay McKeon, Esq; Randi Bianco,
                      Esq. Government requests an adjournment of the trial. Defendant opposes a
                      continuance. Date to be determined after counsel files letter briefs regarding
                      the continuance. (Court Reporter No transcript) (jlm) (Entered: 10/19/2017)
 10/19/2017      74




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                      Letter from AUSA Lisa Fletcher and AUSA Carina Schoenberger as to Clif J.
                      Seaway requesting an adjournment of trial (Fletcher, Lisa) (Entered:
                      10/19/2017)
 10/19/2017      75 Letter from Randi J. Bianco, Esq. as to Clif J. Seaway (Bianco, Randi)
                    (Entered: 10/19/2017)
 10/19/2017      76 ORDER as to Clif J. Seaway that the trial scheduled for 10/25/17 is adjourned.
                    Jury Trial is reset for 12/11/2017 at 09:00 AM in Syracuse before Senior Judge
                    Norman A. Mordue. Further any objection to the procedure of excusing those
                    jurors who have responded to the juror questionnaire as set forth in this Ordere
                    must be docketed no later than 2:30 p.m., Friday October 20, 2017; if no timely
                    objection is received, all such jurors will be excused. Signed by Senior Judge
                    Norman A. Mordue on 10/19/17. (jlm) (Entered: 10/19/2017)
 10/20/2017      77 Letter from Randi Bianco as to Clif J. Seaway requesting release of jury pool
                    (Wolfson, Martin) (Entered: 10/20/2017)
 10/20/2017      78 Letter from AUSA Lisa Fleter and AUSA Carina Schoenberger as to Clif J.
                    Seaway (Fletcher, Lisa) (Entered: 10/20/2017)
 10/24/2017      79 MEMORANDUM-DECISION AND ORDER as to Clif J. Seaway.
                    ORDERED that the Court excuses from service in this trial all those jurors
                    whose responses to the questionnaire stated that they could not sit as fair and
                    impartial jurors either because of personal or family issues relating to sexual
                    abuse, child abuse, or child pornography, or because the nature of the case
                    itself presented emotional or other difficulties for them; ORDERED that all
                    such jurors shall be returned to the qualified wheel for random selection at a
                    later date.Signed by Senior Judge Norman A. Mordue on 10/24/2017. (mgh)
                    (Entered: 10/24/2017)
 10/25/2017      80 Letter from Tamara B. Thomson as to Tammy M. Martin requesting the Court
                    review and execute the proposed Preliminary Order of Forfeiture
                    (Attachments: # 1 Proposed Order/Judgment Preliminary Order of Forfeiture)
                    (Thomson, Tamara) (Entered: 10/25/2017)
 11/02/2017      81 Certificate of Service by USA as to Clif J. Seaway re 72 Status Report Bill of
                    Particulars Certificate of Service (Thomson, Tamara) (Entered: 11/02/2017)
 11/06/2017      82 PRELIMINARY ORDER DIRECTING FORFEITURE OF PROPERTY as to
                    Tammy M. Martin. Signed by Senior Judge Norman A. Mordue on 11/6/17.
                    (Certified copies served upon appropriate parties/agencies) (jlm) (Entered:
                    11/06/2017)
 11/09/2017      83 Agreement and ORDER as to Clif J. Seaway for the taking of the Deposition of
                    Witness David Nguyen Galante. Signed by Senior Judge Norman A. Mordue
                    on 11/9/17. (jlm) (Entered: 11/09/2017)
 11/29/2017      84 Letter from Defense and Prosecutor as to Clif J. Seaway requesting the final
                    jury names selected for trial in advance of trial (Bianco, Randi) Modified
                    wording at the request of defense counsel on 11/29/2017 (jlm). (Entered:
                    11/29/2017)
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                      TEXT ORDER: The parties' joint request as to prospective juror names [Dkt.
                      No. 84] is GRANTED. The Court will provide the parties with the names of
                      the prospective jurors who remain on the panel for trial selection on December
                      6, 2017. At that time, the parties will also be provided the questionnaires for
                      the prospective jurors who answered yes to one or more of the questions but
                      indicated they could nonetheless be impartial, as requested in Dkt. No. 44.So
                      Ordered by Senior Judge Norman A. Mordue on 11/29/17. (jlm) (Entered:
                      11/29/2017)
 12/05/2017      86 WITNESS LIST by USA as to Clif J. Seaway (Fletcher, Lisa) (Entered:
                    12/05/2017)
 12/05/2017      87 Certificate of Service by USA as to Clif J. Seaway re 86 Witness List (Fletcher,
                    Lisa) (Entered: 12/05/2017)
 12/06/2017      88 MOTION in Limine to Preclude Testimony as to Ultimate Legal Issues by Clif
                    J. Seaway as to Clif J. Seaway, Tammy M. Martin. (McKeon, Courtenay)
                    (Entered: 12/06/2017)
 12/06/2017      89 MOTION in Limine to Preclude Evidence of Uncharged Conduct by Clif J.
                    Seaway. (McKeon, Courtenay) (Entered: 12/06/2017)
 12/06/2017      90 SEALED DOCUMENT Sealing Order- maintained in Clerk's Office and not
                    available for electronic viewing (jlm) (Entered: 12/06/2017)
 12/06/2017      91 SEALED MOTION in Limine by the USA as to Clif J. Seaway. The defense
                    shall file a response the the motion by close of business on 12/7/17. No reply is
                    permitted. (jlm) (Additional attachment(s) added on 12/7/2017: # 1 Exibit A -
                    DVD, # 2 Transcript, # 3 Certificate of Service) (jlr, ). (Entered: 12/06/2017)
 12/06/2017           TEXT NOTICE - The Government shall file a response to the Motions in
                      Limine by Clif J. Seaway re 89 MOTION in Limine to Preclude Evidence of
                      Uncharged Conduct, 88 MOTION in Limine to Preclude Testimony as to
                      Ultimate Legal Issues by close of business on 12/7/17.(jlm) Modified on
                      12/7/2017 (jlm). (Entered: 12/06/2017)
 12/07/2017           TEXT NOTICE - The Government shall respond to the 89 MOTION in Limine
                      to Preclude Evidence of Uncharged Conduct by Clif J. Seaway by close of
                      business today. (12/7/17). NO reply is permitted. (jlm) (Entered: 12/07/2017)
 12/07/2017           TEXT NOTICE OF HEARING as to Tammy M. Martin. The Sentencing is
                      reset for 3/12/2018 at 10:00 AM in Syracuse before Senior Judge Norman A.
                      Mordue. All sentencing memorandum including any letters of support shall be
                      filed on or before 2/20/18. (jlm) (Entered: 12/07/2017)
 12/07/2017      92 RESPONSE in Opposition by Clif J. Seaway re 91 MOTION to Seal
                    Document (McKeon, Courtenay) (Entered: 12/07/2017)
 12/07/2017      93 MOTION in Limine to Exclude Photographs and Videos by Clif J. Seaway.
                    (McKeon, Courtenay) (Entered: 12/07/2017)
 12/07/2017      94 RESPONSE in Opposition by USA as to Clif J. Seaway re 89 MOTION in
                    Limine to Preclude Evidence of Uncharged Conduct, 88 MOTION in Limine




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                      to Preclude Testimony as to Ultimate Legal Issues (Fletcher, Lisa) (Entered:
                      12/07/2017)
 12/08/2017      95 EXHIBIT LIST by USA as to Clif J. Seaway (Fletcher, Lisa) (Entered:
                    12/08/2017)
 12/08/2017      96 Certificate of Service by USA as to Clif J. Seaway re 95 Exhibit List (Fletcher,
                    Lisa) (Entered: 12/08/2017)
 12/08/2017      97 RESPONSE in Opposition by USA as to Clif J. Seaway re 93 MOTION in
                    Limine to Exclude Photographs and Videos (Attachments: # 1 Certificate of
                    Service)(Fletcher, Lisa) (Entered: 12/08/2017)
 12/08/2017      98 EXHIBIT LIST by USA as to Clif J. Seaway (Fletcher, Lisa) (Entered:
                    12/08/2017)
 12/10/2017      99 EXHIBIT LIST by Clif J. Seaway (McKeon, Courtenay) (Entered: 12/10/2017)
 12/11/2017           TEXT Minute Entry for Jury Selection and Day 1 of the Jury Trial as to Clif J.
                      Seaway held on 12/11/2017 before Senior Judge Norman A. Mordue. APPR:
                      Lisa Fletcher, AUSA; Carina Schoenberger, AUSA; Benjamin Miller, Agent
                      with NYSP; Lon Ziankoski, Agent; Randi Biano, Esq; Courtenay McKeon,
                      Esq; John OBrien, Investigator. Defendant present. Jury selection completed
                      [10:25-2:46]; Jurors sworn; Judge gives preliminary charge; Opening
                      statements given. Court in recess until tomorrow at 9:00 a.m. (Court Reporter
                      Eileen McDonough) (jlm) (Entered: 12/11/2017)
 12/12/2017           TEXT Minute Entry for Day 2 of the Jury Trial as to Clif J. Seaway held on
                      12/12/2017 before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher,
                      AUSA; Carina Schoenberger, AUSA; Benjamin Miller, Agent with NYSP;
                      Lon Ziankoski, Agent; Randi Biano, Esq; Courtenay McKeon, Esq; John
                      OBrien, Investigator. Defendant present. Government calls Witness #1 - S.V.
                      (sworn); #2 - Benjamin Miller (sworn); #3 - Lon Ziankoski (Sworn); #3 -
                      Michael Eckler (Sworn). Exhibits received. Court in recess until tomorrow at
                      10:00 a.m. (Court Reporter Eileen McDonough) (jlm) (Entered: 12/12/2017)
 12/13/2017     100 Proposed Jury Instructions Supplemental by USA as to Clif J. Seaway
                    (Attachments: # 1 Certificate of Service)(Fletcher, Lisa) (Entered: 12/13/2017)
 12/13/2017           TEXT Minute Entry for Day 3 of the Jury Trial as to Clif J. Seaway held on
                      12/13/2017 before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher,
                      AUSA; Carina Schoenberger, AUSA; Benjamin Miller, Agent with NYSP;
                      Lon Ziankoski, Agent; Randi Biano, Esq; Courtenay McKeon, Esq; John
                      OBrien, Investigator. Defendant present. AUSA Fletcher continues direct
                      examination of Witness #4 - Michael Eckler. Government calls Witness #5 -
                      Arlie Hedges (sworn); #6 - David Nguyen-Galante (sworn); #7 - Kayla
                      Shepard (Sworn); #8 - Nichole Gibides (Sworn). Exhibits received.
                      Government and defendant rests. Rule 29 motion by defense; Judge Reserves
                      decision. Charge Conference held. Court in recess until tomorrow at 9:30 a.m.
                      (Court Reporter Eileen McDonough) (jlm) (Entered: 12/13/2017)
 12/14/2017           TEXT Minute Entry for Day 4 of the Jury Trial as to Clif J. Seaway held on
                      12/14/2017 before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher,




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                      AUSA; Carina Schoenberger, AUSA; Benjamin Miller, Agent with NYSP;
                      Lon Ziankoski, Agent; Randi Biano, Esq; Courtenay McKeon, Esq; John
                      OBrien, Investigator. Defendant present. Judge Mordue charges the jury.
                      Closing arguments by counsel. Marshals sworn by Clerk; Jurors begin
                      deliberating; Verdict reached and read by the Clerk. Defendant found guilty.
                      Jurors excused with Thanks of the court. Original exhibits returned to Counsel.
                      (Court Reporter Eileen McDonough) (jlm) (Entered: 12/14/2017)
 12/14/2017     101 Final EXHIBIT LIST by USA as to Clif J. Seaway. Defendant's exhibit A
                    noted received as gov't exhibit 2B. All exhibits returned. (jlm) (Entered:
                    12/14/2017)
 12/14/2017     102 JURY VERDICT (Redacted) as to Clif J. Seaway (1) Guilty on Count 1-7.
                    (jlm) (Entered: 12/14/2017)
 12/14/2017     103 GUIDELINE ORDER as to Clif J. Seaway. Sentencing is set for 4/30/2018 at
                    10:00 AM in Syracuse before Senior Judge Norman A. Mordue. Government
                    Sand Defendant Sentencing Memo Deadline 4/9/2018. Signed by Senior Judge
                    Norman A. Mordue on 12/14/17. (jlm) (Main Document 103 replaced on
                    12/15/2017-Orig incorrectly had Albany, NY for place of sentencing) (jlm).
                    (Entered: 12/14/2017)
 01/09/2018           TEXT NOTICE OF HEARING as to Tammy M. Martin. The Court has reset
                      the Sentencing for 5/14/2018 at 11:00 AM in Syracuse before Senior Judge
                      Norman A. Mordue. All sentencing memordanda and any letters of support
                      shall be filed on or before 4/23/18. (jlm) (Entered: 01/09/2018)
 01/26/2018     104 Letter from Tamara Thomson as to Clif J. Seaway, Tammy M. Martin
                    requesting that the proposed Preliminary Order of Forfeiture be signed and a
                    copy returned (Attachments: # 1 Proposed Order/Judgment proposed
                    Preliminary Order of Forfeiture)(Thomson, Tamara) (Entered: 01/26/2018)
 02/09/2018     105 PRELIMINARY ORDER OF FORFEITURE as to Clif J. Seaway. Signed by
                    Senior Judge Norman A. Mordue on 2/9/18. (jlm) (Entered: 02/09/2018)
 02/28/2018     106 PRESENTENCE INVESTIGATION REPORT - INITIAL DISCLOSURE
                    [LODGED] as to Tammy M. Martin. The Presentence Investigation Report in
                    this matter is now available for review. Any objections to the report shall be
                    served on the Probation Office within 14 days of this notice, by mailing a hard
                    copy to the Probation Officer. Please contact the probation officer who
                    prepared the report if you have any questions.[This document has been
                    electronically lodged with the Court and is viewable by ONLY the
                    attorney for the government, the attorney for the defendant, and the
                    presiding judge. It is not a filed document, therefore is not available for
                    public inspection. Any further distribution or dissemination is prohibited.]
                    (dct, ) (Entered: 02/28/2018)
 03/14/2018     107 PRESENTENCE INVESTIGATION REPORT - INITIAL DISCLOSURE
                    [LODGED] as to Clif J. Seaway. The Presentence Investigation Report in this
                    matter is now available for review. Any objections to the report shall be served
                    on the Probation Office within 14 days of this notice, by mailing a hard copy to
                    the Probation Officer. Please contact the probation officer who prepared the




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                      report if you have any questions.[This document has been electronically
                      lodged with the Court and is viewable by ONLY the attorney for the
                      government, the attorney for the defendant, and the presiding judge. It is
                      not a filed document, therefore is not available for public inspection. Any
                      further distribution or dissemination is prohibited.] (dct, ) (Entered:
                      03/14/2018)
 03/19/2018     108 SERVICE by Publication of notice of forfeiture; Last publication date March
                    15, 2018 in www.forfeiture.gov filed by USA (Thomson, Tamara) (Entered:
                    03/19/2018)
 03/21/2018     109 SENTENCING MEMORANDUM by Clif J. Seaway (Bianco, Randi)
                    (Entered: 03/21/2018)
 04/09/2018     110 Letter from AUSA Lisa Fletcher Requesting Permission to File a 12 Page
                    Sentencing Memorandum as to Clif J. Seaway (Fletcher, Lisa) (Entered:
                    04/09/2018)
 04/09/2018     111 SENTENCING MEMORANDUM by USA as to Clif J. Seaway (Fletcher,
                    Lisa) (Entered: 04/09/2018)
 04/10/2018     112 Letter from Randi J. Bianco, Esq. as to Clif J. Seaway requesting permission to
                    reply to government's Sentencing Memorandum (Bianco, Randi) (Entered:
                    04/10/2018)
 04/10/2018     113 Second SENTENCING MEMORANDUM by Clif J. Seaway (Bianco, Randi)
                    (Entered: 04/10/2018)
 04/11/2018     114 PRESENTENCE INVESTIGATION REPORT - FINAL DISCLOSURE
                    [LODGED] as to Tammy M. Martin. The final version of the Presentence
                    Investigation Report, including all revisions and the most recent Addendum is
                    now available for review. This version of the report will be used by the Court
                    at the time of sentencing. [This document has been electronically lodged
                    with the Court and is viewable by ONLY the attorney for the government,
                    the attorney for the defendant, and the presiding judge. Any further
                    distribution or dissemination is prohibited.] (Bates, Nicole) (Entered:
                    04/11/2018)
 04/11/2018     115 PRESENTENCE INVESTIGATION REPORT - FINAL DISCLOSURE
                    [LODGED] as to Clif J. Seaway. The final version of the Presentence
                    Investigation Report, including all revisions and the most recent Addendum is
                    now available for review. This version of the report will be used by the Court
                    at the time of sentencing. [This document has been electronically lodged
                    with the Court and is viewable by ONLY the attorney for the government,
                    the attorney for the defendant, and the presiding judge. Any further
                    distribution or dissemination is prohibited.] (Bates, Nicole) (Entered:
                    04/11/2018)
 04/11/2018     116 DEFT Clif J. Seaway: CHARACTER LETTER(S) RE: SENTENCING
                    submitted by Randi J. Bianco, Esq. (Bianco, Randi) (Entered: 04/11/2018)
 04/21/2018     118 Letter from H Dana VanHee, Esq. as to Tammy M. Martin requesting
                    adjournment of sentencing (VanHee, H. Dana) (Entered: 04/21/2018)




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 04/26/2018           TEXT NOTICE OF HEARING as to Tammy M. Martin. At the request of
                      counsel 118 the Sentencing is reset for 6/7/2018 at 11:00 AM in Syracuse
                      before Senior Judge Norman A. Mordue. All sentencing memoranda shall be
                      filed on or before 5/17/18.(jlm) (Entered: 04/26/2018)
 04/27/2018           TEXT NOTICE OF HEARING as to Clif J. Seaway. Sentencing is reset for
                      5/3/2018 at 11:00 AM in Syracuse before Senior Judge Norman A. Mordue.
                      (jlm) (Entered: 04/27/2018)
 05/03/2018           TEXT Minute Entry for Sentencing held on 5/3/2018 for Clif J. Seaway (1)
                      before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher, AUSA Carina
                      Schoenberger, AUSA; Randi Juda Bianco, Esq.; Courtenay McKeon, Esq.
                      Victims speak. Defendant is sentenced on Counts 1-7 of Indictment 5:16-cr-
                      339 and Counts 1-5 of the Indictment in 5:16-cr-340 to 4,320 months (or 360
                      years) This term consists of 360 months on each count of conviction: all to run
                      consecutively with each other. Supervised release of life on each count to run
                      concurrently. Defendant remanded to the custody of the USM. Judge
                      recommends that the defendant be housed at FCI Tucson. (Court Reporter
                      Eileen McDonough) (jlm) (Entered: 05/03/2018)
 05/08/2018     119 JUDGMENT as to Clif J. Seaway (1), Count(s) 1-7 in 5:16-cr-339-001, for a
                    total of 4,320 months between 5:16-cr-339-001 and 5:16-cr-340-001 (or 360
                    years per count in each case). This term consists of 360 months on each count
                    of conviction, all to run consecutively with each other. Supervised release of
                    life on each count to run concurrently. Signed by Senior Judge Norman A.
                    Mordue on 5/8/2018. (plp) (Entered: 05/08/2018)
 05/08/2018     120 STATEMENT OF REASONS [LODGED] as to Clif J. Seaway [This
                    document has been electronically lodged with the Court and is viewable by
                    ONLY the attorney for the government, the attorney for the defendant,
                    and the presiding judge. It is not a filed document, therefore is not
                    available for public inspection. Any further distribution or dissemination
                    is prohibited.] (plp, ) (Entered: 05/08/2018)
 05/10/2018     121 NOTICE OF APPEAL by Clif J. Seaway No fee paid. (Bianco, Randi)
                    (Entered: 05/10/2018)
 05/14/2018     122 ELECTRONIC NOTICE AND CERTIFICATION as to Clif J. Seaway sent to
                    US Court of Appeals re 121 Notice of Appeal. (mgh) (Entered: 05/14/2018)
 05/16/2018     123 SENTENCING MEMORANDUM by Tammy M. Martin (VanHee, H. Dana)
                    (Entered: 05/16/2018)
 05/16/2018     124 Certificate of Service by Tammy M. Martin re 123 Deft. Sentencing
                    Memorandum (VanHee, H. Dana) (Entered: 05/16/2018)
 05/17/2018     125 Psychiatric Report Received by defense counsel for Sentencing. (Sealed) as to
                    Tammy M. Martin (jlm) (Entered: 05/17/2018)
 05/17/2018     126 SENTENCING MEMORANDUM by USA as to Tammy M. Martin (Fletcher,
                    Lisa) (Entered: 05/17/2018)
 05/23/2018     127




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                      TRANSCRIPT REQUEST by Clif J. Seaway for proceedings held on
                      12/11/17, 12/12/17, 12/13/17, 12/14/17 and 5/3/18 before Judge Mordue.
                      (Egan, James) (Entered: 05/23/2018)
 06/07/2018           TEXT Minute Entry for Sentencing held on 6/7/2018 for Tammy M. Martin (2)
                      before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher, AUSA; Carina
                      Schoenberger, AUSA; Dana Vanhee, Esq. Defendant sentenced on Counts 2-4
                      of the Indictment to Imprisonment of 360 months on each of Counts 2, 3, and 4
                      of the Indictment to be served consecutively for a total of 1080 months (90
                      years total); Supervised Release of Life on each count to be served
                      concurrently. $300 special assessment, due immediately; No fine imposed;
                      Forfeiture as listed in Preliminary Order of Forfeiture signed by this Court on
                      11/6/17. DISMISSAL OF COUNT 1 on Government Motion as to Tammy M.
                      Martin. Appeal rights explained and defendant and counsel both acknowledge
                      NO appeal to be filed. Defendant remanded. (Court Reporter Hannah
                      Cavanaugh) (jlm) (Entered: 06/07/2018)
 06/12/2018     128 JUDGMENT as to Tammy M. Martin (2) - Count 1 Dismissed on motion of
                    Government; Count(s) 2-4: Imprisonment of 360 months on each of Counts 2,
                    3, and 4 of the Indictment to be served consecutively for a total of 1080 months
                    (90 years total); Supervised Release of Life on each count to be served
                    concurrently. $300 Special Assessment. No fine imposed. Forfeiture as listed
                    in Preliminary Order of Forfeiture signed by this Court on 11/6/2017. (plp)
                    (Entered: 06/12/2018)
 06/12/2018     129 STATEMENT OF REASONS [LODGED] as to Tammy M. Martin [This
                    document has been electronically lodged with the Court and is viewable by
                    ONLY the attorney for the government, the attorney for the defendant,
                    and the presiding judge. It is not a filed document, therefore is not
                    available for public inspection. Any further distribution or dissemination
                    is prohibited.] (plp, ) (Entered: 06/12/2018)
 06/22/2018           NOTICE as to Tammy M. Martin - Attorneys appointed pursuant to the
                      Criminal Justice Act are reminded that CJA Vouchers are to be submitted no
                      later than 45 days after the final disposition of the case, unless good cause is
                      shown. Refer to the Court's website: http://www.nynd.uscourts.gov/criminal-
                      justice-act for comprehensive information relating to court appointed
                      representation. (jlm) (Entered: 06/22/2018)
 07/02/2018     130 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Clif
                    J. Seaway: Jury Trial (Excluding Jury Selection) held on 12/11/2017 before
                    Judge Norman A. Mordue, Court Reporter/Transcriber: Eileen
                    McDonough,Telephone number: 315-234-8546. IMPORTANT NOTICE -
                    REDACTION OF TRANSCRIPTS: In order to remove personal identifier
                    data from the transcript, a party must electronically file a Notice of Intent to
                    Request Redaction with the Clerk's Office within 5 business days of this date.
                    The policy governing the redaction of personal information is located on the
                    court website at www.nynd.uscourts.gov. Read this policy carefully. If no
                    Notice of Intent to Redact is filed within 5 business days of this date, the court
                    will assume redaction of personal identifiers is not necessary and the transcript
                    will be made available on the web 90 days from today's date. Transcript may




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                      be viewed at the court public terminal or purchased through the Court
                      Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                      After that date it may be obtained through PACER. Redaction Request due
                      7/23/2018. Redacted Transcript Deadline set for 8/2/2018. Release of
                      Transcript Restriction set for 10/1/2018. Notice of Intent to Redact due by
                      7/9/2018 (etm, ) (Entered: 07/02/2018)
 07/02/2018     131 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Clif
                    J. Seaway: Jury Trial held on 12/12/2017 before Judge Norman A. Mordue,
                    Court Reporter/Transcriber: Eileen McDonough,Telephone number: 315-234-
                    8546. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In
                    order to remove personal identifier data from the transcript, a party must
                    electronically file a Notice of Intent to Request Redaction with the Clerk's
                    Office within 5 business days of this date. The policy governing the redaction
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                    www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent to
                    Redact is filed within 5 business days of this date, the court will assume
                    redaction of personal identifiers is not necessary and the transcript will be
                    made available on the web 90 days from today's date. Transcript may be
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                    After that date it may be obtained through PACER. Redaction Request due
                    7/23/2018. Redacted Transcript Deadline set for 8/2/2018. Release of
                    Transcript Restriction set for 10/1/2018. Notice of Intent to Redact due by
                    7/9/2018 (etm, ) (Entered: 07/02/2018)
 07/02/2018     132 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Clif
                    J. Seaway: Jury Trial held on 12/13/2017 before Judge Norman A. Mordue,
                    Court Reporter/Transcriber: Eileen McDonough,Telephone number: 315-234-
                    8546. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In
                    order to remove personal identifier data from the transcript, a party must
                    electronically file a Notice of Intent to Request Redaction with the Clerk's
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                    of personal information is located on the court website at
                    www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent to
                    Redact is filed within 5 business days of this date, the court will assume
                    redaction of personal identifiers is not necessary and the transcript will be
                    made available on the web 90 days from today's date. Transcript may be
                    viewed at the court public terminal or purchased through the Court
                    Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                    After that date it may be obtained through PACER. Redaction Request due
                    7/23/2018. Redacted Transcript Deadline set for 8/2/2018. Release of
                    Transcript Restriction set for 10/1/2018. Notice of Intent to Redact due by
                    7/9/2018 (etm, ) (Entered: 07/02/2018)
 07/02/2018     133 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Clif
                    J. Seaway: Jury Trial held on 12/14/2017 before Judge Norman A. Mordue,
                    Court Reporter/Transcriber: Eileen McDonough,Telephone number: 315-234-
                    8546. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In
                    order to remove personal identifier data from the transcript, a party must




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                      electronically file a Notice of Intent to Request Redaction with the Clerk's
                      Office within 5 business days of this date. The policy governing the redaction
                      of personal information is located on the court website at
                      www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent to
                      Redact is filed within 5 business days of this date, the court will assume
                      redaction of personal identifiers is not necessary and the transcript will be
                      made available on the web 90 days from today's date. Transcript may be
                      viewed at the court public terminal or purchased through the Court
                      Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                      After that date it may be obtained through PACER. Redaction Request due
                      7/23/2018. Redacted Transcript Deadline set for 8/2/2018. Release of
                      Transcript Restriction set for 10/1/2018. Notice of Intent to Redact due by
                      7/9/2018 (etm, ) (Entered: 07/02/2018)
 07/02/2018     134 NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Proceedings as to Clif
                    J. Seaway: Sentencing held on 5/3/2018 before Judge Norman A. Mordue,
                    Court Reporter/Transcriber: Eileen McDonough,Telephone number: 315-234-
                    8546. IMPORTANT NOTICE - REDACTION OF TRANSCRIPTS: In
                    order to remove personal identifier data from the transcript, a party must
                    electronically file a Notice of Intent to Request Redaction with the Clerk's
                    Office within 5 business days of this date. The policy governing the redaction
                    of personal information is located on the court website at
                    www.nynd.uscourts.gov. Read this policy carefully. If no Notice of Intent to
                    Redact is filed within 5 business days of this date, the court will assume
                    redaction of personal identifiers is not necessary and the transcript will be
                    made available on the web 90 days from today's date. Transcript may be
                    viewed at the court public terminal or purchased through the Court
                    Reporter/Transcriber before the deadline for Release of Transcript Restriction.
                    After that date it may be obtained through PACER. Redaction Request due
                    7/23/2018. Redacted Transcript Deadline set for 8/2/2018. Release of
                    Transcript Restriction set for 10/1/2018. Notice of Intent to Redact due by
                    7/9/2018 (etm, ) (Entered: 07/02/2018)
 07/20/2018     135 TRANSCRIPT REQUEST by Clif J. Seaway for proceedings held on 10/18/17
                    before Judge Mordue. (Egan, James) (Entered: 07/20/2018)
 07/23/2018     136 PROCESS RECEIPT AND RETURN of CBP Returned Executed on 6/11/18
                    Items A through i of the Preliminary Order of Forfeiture arrested and stored in
                    the CBP Seizure vault filed by USA (Thomson, Tamara) (Entered: 07/23/2018)
 07/23/2018     137 PROCESS RECEIPT AND RETURN of CBP Returned Executed on 7/20/18
                    Items j through n listed on page 2 of the Preliminary Order of Forfeiture
                    arrested and stored in the CBP Seizure vault filed by USA (Thomson, Tamara)
                    (Entered: 07/23/2018)
 07/23/2018     138 STATUS REPORT notifying the Court that no ancillary claims were filed and
                    the Preliminary Order of Forfeiture is now final as to the defendant, and no
                    separate final order will be presented by USA as to Clif J. Seaway, Tammy M.
                    Martin (Thomson, Tamara) (Entered: 07/23/2018)




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                    PACER Login: melissatuohey Client Code:
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                    Exempt flag:   Exempt         Exempt reason: Always




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                                U.S. District Court
    Northern District of New York - Main Office (Syracuse) [NextGen CM/ECF
                       Release 1.2 (Revision 1.2)] (Syracuse)
     CRIMINAL DOCKET FOR CASE #: 5:16-cr-00340-NAM All Defendants


Case title: USA v. Seaway et al                             Date Filed: 11/17/2016
Magistrate judge case number: 5:16-mj-00091-TWD             Date Terminated: 06/22/2018


Assigned to: Senior Judge Norman A.
Mordue

Defendant (1)
Clif J. Seaway                               represented by James P. Egan
TERMINATED: 05/08/2018                                      Office of the Federal Public Defender -
                                                            Syracuse Office
                                                            Northern District of New York
                                                            4 Clinton Square, 3rd Floor
                                                            Syracuse, NY 13202
                                                            315-701-0080
                                                            Fax: 315-701-0081
                                                            Email: james.egan@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or
                                                            Community Defender Appointment

                                                            Randi Juda Bianco
                                                            Office of the Federal Public Defender -
                                                            Syracuse Office
                                                            Northern District of New York
                                                            4 Clinton Square, 3rd Floor
                                                            Syracuse, NY 13202
                                                            315-701-0080
                                                            Fax: 315-701-0081
                                                            Email: randi_bianco@fd.org
                                                            LEAD ATTORNEY
                                                            ATTORNEY TO BE NOTICED
                                                            Designation: Public Defender or
                                                            Community Defender Appointment

                                                            Courtenay K. McKeon




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                                                          Office of the Federal Public Defender -
                                                          Syracuse Office
                                                          Northern District of New York
                                                          4 Clinton Square, 3rd Floor
                                                          Syracuse, NY 13202
                                                          315-701-0080
                                                          Fax: 315-701-0081
                                                          Email: courtenay_mckeon@fd.org
                                                          ATTORNEY TO BE NOTICED
                                                          Designation: Public Defender or
                                                          Community Defender Appointment

Pending Counts                                            Disposition
                                                          4,320 months (or 360 years) This term
18:2251.F-SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(1)
                                                          each count to run concurrently.
                                                          4,320 months (or 360 years) This term
18:2251.F-SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(2)
                                                          each count to run concurrently.
                                                          4,320 months (or 360 years) This term
18:2251.F-SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(3)
                                                          each count to run concurrently.
                                                          4,320 months (or 360 years) This term
18:2251.F-SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(4)
                                                          each count to run concurrently.
                                                          4,320 months (or 360 years) This term
18:2251.F-SEXUAL EXPLOITATION
                                                          consists of 360 months on each count of
OF CHILDREN with forfeiture
                                                          conviction: all to run consecutively with
allegation
                                                          each other. Supervised release of life on
(5)
                                                          each count to run concurrently.

Highest Offense Level (Opening)
Felony

Terminated Counts                                         Disposition
None




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Highest Offense Level (Terminated)
None

Complaints                                                Disposition
None


Assigned to: Senior Judge Norman A.
Mordue

Defendant (2)
Tammy J. Lamere                             represented by Robert G. Wells
TERMINATED: 06/22/2018                                     Office of Robert G. Wells
                                                           120 East Washington Street
                                                           825 University Building
                                                           Syracuse, NY 13202
                                                           315-472-4489
                                                           Fax: 315-472-1456
                                                           Email: dfndr@hotmail.com
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: CJA Appointment

Pending Counts                                            Disposition
18:2251.F-SEXUAL EXPLOITATION
                                                          360 months imprisonment on each
OF CHILDREN with forfeiture
                                                          Count to be served concurrently. 15
allegation
                                                          years supervised release to follow.
(1)
18:2251.F-SEXUAL EXPLOITATION
                                                          360 months imprisonment on each
OF CHILDREN with forfeiture
                                                          Count to be served concurrently. 15
allegation
                                                          years supervised release to follow.
(2)

Highest Offense Level (Opening)
Felony

Terminated Counts                                         Disposition
None

Highest Offense Level (Terminated)
None

Complaints                                                Disposition



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18:2251.F SEXUAL EXPLOITATION
OF CHILDREN



Plaintiff
USA                                         represented by Lisa M. Fletcher
                                                           Office of the United States Attorney -
                                                           Syracuse
                                                           P.O. Box 7198
                                                           100 South Clinton Street
                                                           Syracuse, NY 13261-7198
                                                           315-448-0672
                                                           Fax: 315-448-0658
                                                           Email: lisa.fletcher@usdoj.gov
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant US Attorney

                                                           Carina Hyatt Schoenberger
                                                           U.S. Attorney's Office - Syracuse, NY
                                                           100 South Clinton Street, Room 900
                                                           Syracuse, NY 13261
                                                           315-448-0672
                                                           Fax: 315-448-0658
                                                           Email: carina.schoenberger@usdoj.gov
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant US Attorney

                                                           Tamara Thomson
                                                           Office of United States Attorney -
                                                           Syracuse Office
                                                           100 South Clinton Street
                                                           P.O. Box 7198
                                                           Syracuse, NY 13261
                                                           315-448-0672
                                                           Fax: 315-448-0658
                                                           Email: tamara.thomson@usdoj.gov
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Assistant US Attorney


 Date Filed      #   Docket Text
 03/02/2016      1 COMPLAINT as to Tammy J. Lamere (1). (sg) [5:16-mj-00091-TWD]
                   (Entered: 03/02/2016)
 03/02/2016      3 APPLICATION for Writ of Habeas Corpus ad prosequendum by USA as to
                   Tammy J. Lamere. (sg) [5:16-mj-00091-TWD] (Entered: 03/02/2016)
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                    ORDER granting 3 Application for Writ of Habeas Corpus ad prosequendum as
                    to Tammy J. Lamere (1). Defendant to appear on 3/3/2016 in U.S. District
                    Court. Signed by Magistrate Judge Therese Wiley Dancks on 3/2/2016. (sg)
                    [5:16-mj-00091-TWD] (Entered: 03/02/2016)
 03/03/2016         TEXT Minute Entry for proceedings held before Magistrate Judge Therese
                    Wiley Dancks:Initial Appearance as to Tammy J. Lamere held on 3/3/2016.
                    Appearances: AUSA Lisa Fletcher for the Government; Robert G. Wells, Esq.
                    for Defendant; USPO Ellen Phillips. Defendant appears with counsel, copy of
                    the complaint provided. Defendant is advised of rights, charges and maximum
                    penalties if convicted. Judge Dancks finds that defendant does qualify for court
                    appointed counsel based on the Financial Affidavit submitted, and appoints Mr.
                    Wells as CJA counsel for Defendant. Court does advise Defendant, however,
                    that should it be determined that Defendant has the means to retain counsel, the
                    Court may request Defendant to repay any attorney's fees incurred by the Court.
                    Government moves for detention. Defendant waives immediate Detention
                    Hearing and Preliminary Hearing, reserving rights to reapply to the Court for the
                    scheduling of such hearings. The Court accepts Defendant's waiver of
                    immediate Detention Hearing and Preliminary Hearing as knowing and
                    voluntary. Defendant remanded to the custody of the U.S. Marshals. (Court
                    Reporter (Diane Martens: 10:33AM-10:40AM) (sg) [5:16-mj-00091-TWD]
                    (Entered: 03/03/2016)
 03/03/2016      5 CJA 20 appointing Robert G. Wells, Esq. as CJA appointed counsel to
                   defendant Tammy J. Lamere. Refer to the Court's website:
                   http://www.nynd.uscourts.gov/cja.cfm for comprehensive information relating
                   to court appointed representation. Attorneys are reminded that CJA vouchers are
                   to be submitted to the court no later than 45 days after the final disposition of the
                   case, unless good cause is shown. Please refer to Appendix II of the CJA Plan
                   (Guidelines for Submitting Claims for Reimbursement Pursuant to the Criminal
                   Justice Act of the Northern District of New York) SO ORDERED by Magistrate
                   Judge Therese Wiley Dancks on 3/3/2016. (sg) [5:16-mj-00091-TWD] (Entered:
                   03/03/2016)
 03/03/2016      6 Arrest Warrant issued on 3/2/2016 by Magistrate Judge Therese Wiley Dancks
                   returned Executed on 3/3/2016 in case as to Tammy J. Lamere, signed by Lon
                   Ziankoski, Special Agent, Homeland Security Investigations. (sg) [5:16-mj-
                   00091-TWD] (Entered: 03/03/2016)
 03/03/2016      7 NOTICE OF ATTORNEY APPEARANCE: Carina Hyatt Schoenberger
                   appearing for USA (Schoenberger, Carina) [5:16-mj-00091-TWD] (Entered:
                   03/03/2016)
 03/08/2016      8 STIPULATION by USA to 90 day extension of time (Schoenberger, Carina)
                   [5:16-mj-00091-TWD] (Entered: 03/08/2016)
 03/08/2016      9 NOTICE OF ATTORNEY APPEARANCE: Robert G. Wells appearing for
                   Tammy J. Lamere (Wells, Robert) [5:16-mj-00091-TWD] (Entered:
                   03/08/2016)
 03/08/2016     10 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to Tammy
                   J. Lamere : Time excluded from 3/8/2016 until 6/6/2016. Signed by Magistrate




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                    Judge Therese Wiley Dancks on 3/8/2016. (sg) [5:16-mj-00091-TWD] (Entered:
                    03/08/2016)
 06/03/2016     11 STIPULATION by USA to 90 day extension of time (Schoenberger, Carina)
                   [5:16-mj-00091-TWD] (Entered: 06/03/2016)
 06/06/2016     12 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to Tammy
                   J. Lamere : Time excluded from 6/6/2016 until 9/6/2016. Signed by Magistrate
                   Judge Therese Wiley Dancks on 6/6/2016. (sg) [5:16-mj-00091-TWD] (Entered:
                   06/06/2016)
 09/02/2016     13 STIPULATION by USA to 60 Day Extension of Time (Fletcher, Lisa) [5:16-mj-
                   00091-TWD] (Entered: 09/02/2016)
 09/08/2016     14 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to Tammy
                   J. Lamere : Time excluded from 9/6/2016 until 11/5/2016. Signed by Magistrate
                   Judge Therese Wiley Dancks on 9/6/2016. (sg) [5:16-mj-00091-TWD] (Entered:
                   09/08/2016)
 11/02/2016     15 STIPULATION by USA to 60 Day Extension of Time (Fletcher, Lisa) [5:16-mj-
                   00091-TWD] (Entered: 11/02/2016)
 11/02/2016     16 STIPULATION AND ORDER FOR ENLARGEMENT OF TIME as to Tammy
                   J. Lamere : Time excluded from 11/5/2016 until 1/4/2017. Signed by Magistrate
                   Judge Therese Wiley Dancks on 11/2/2016. (sg) [5:16-mj-00091-TWD]
                   (Entered: 11/02/2016)
 11/17/2016     17 INDICTMENT as to Clif J. Seaway (1) count(s) 1-5, Tammy J. Lamere (2)
                   count(s) 1-2, with Forfeiture Allegation. (sg) (Entered: 11/18/2016)
 11/17/2016         TEXT Minute Entry for proceedings held before Magistrate Judge Therese
                    Wiley Dancks on 11/17/2016: GRAND JURY makes a partial report and returns
                    Indictment as to Clif J. Seaway and Tammy J. Lamere. No special requests.
                    Tally Sheet is ordered sealed. (Court Reporter S. Byrne) (sg) (Entered:
                    11/18/2016)
 11/18/2016     18 TEXT NOTICE to Counsel for defendant CLIF J. SEAWAY: An 17 Indictment
                   dated 11/17/2016 has been filed with the Court. In the event Defendant Seaway
                   wishes to waive appearance for an arraignment, both the Defendant and
                   Defendant's counsel must complete and electronically file with the Court the
                   attached form by 11/30/2016. If the Court does not receive the form by the
                   above date the Court will IMMEDIATELY schedule the arraignment of your
                   client. Because of Speedy Trial issues, the Court appearance for arraignment
                   may be scheduled with very little advanced notice. (sg) (Entered: 11/18/2016)
 11/18/2016     19 TEXT NOTICE to Counsel for Defendant TAMMY J. LAMERE: An 17
                   Indictment dated 11/17/2016 has been filed with the Court. In the event
                   Defendant Lamere wishes to waive appearance for an arraignment, both the
                   Defendant and Defendant's counsel must complete and electronically file with
                   the Court the attached form by 11/30/2016. If the Court does not receive the
                   form by that date the Court will IMMEDIATELY schedule the arraignment of
                   your client. Because of Speedy Trial issues, the Court appearance for




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                    arraignment may be scheduled with very little advanced notice. (sg) (Entered:
                    11/18/2016)
 11/22/2016     20 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not
                   Guilty by Clif J. Seaway (Bianco, Randi) (Entered: 11/22/2016)
 11/22/2016     21 TEXT ORDER approving 20 Waiver of Presence at Arraignment and entry of
                   plea of not guilty to 17 Indictment as to Defendant Clif J. Seaway. SO
                   ORDERED by Magistrate Judge Therese Wiley Dancks on 11/22/2016. (sg)
                   (Entered: 11/22/2016)
 11/29/2016     22 WAIVER of Personal Appearance at Arraignment and Entry of Plea of Not
                   Guilty by Tammy J. Lamere (Wells, Robert) (Entered: 11/29/2016)
 12/02/2016     23 TEXT ORDER approving 22 Waiver of Presence at Arraignment and entry of
                   plea of not guilty to 17 Indictment as to Defendant Tammy J. Lamere. SO
                   ORDERED by Magistrate Judge Therese Wiley Dancks on 12/2/2016. (sg)
                   (Entered: 12/02/2016)
 12/02/2016     24 CRIMINAL PRETRIAL SCHEDULING ORDER as to Clif J. Seaway and
                   Tammy J. Lamere: Motions to be filed by 12/27/2016. Jury Trial set for
                   1/23/2017 at 9:30 AM in Syracuse before Senior Judge Norman A. Mordue.
                   Signed by Magistrate Judge Therese Wiley Dancks on 11/29/2016. (sg)
                   (Entered: 12/02/2016)
 01/27/2017     25 STIPULATION by USA to 90 Day Extension of Time (Fletcher, Lisa) (Entered:
                   01/27/2017)
 02/01/2017     26 ORDER TO CONTINUE - Ends of Justice as to Clif J. Seaway and Tammy J.
                   Lamere. Time excluded from 2/1/17 until 5/2/17. Jury Trial is set for 5/8/2017 at
                   09:00 AM in Syracuse before Senior Judge Norman A. Mordue. All pretrial
                   papers are due on or before 4/24/17/ Motions to be filed by 3/6/2017. Signed by
                   Senior Judge Norman A. Mordue on 2/1/2017. (jlm) (Entered: 02/01/2017)
 03/03/2017     27 MOTION to Suppress by Clif J. Seaway as to Clif J. Seaway, Tammy J.
                   Lamere. Motion Hearing set for 4/5/2017 10:00 AM in Syracuse before Senior
                   Judge Norman A. Mordue Response to Motion due by 3/20/2017. No Reply
                   Permitted. (Attachments: # 1 Memorandum of Law, # 2 Exhibit(s))(Bianco,
                   Randi) (Attachment 2 replaced on 3/21/2017) (jlm) (Entered: 03/03/2017)
 03/21/2017         CLERK'S CORRECTION OF DOCKET ENTRY re 27 Motion to Suppress.
                    Exhibits replaced with a redaction. (jlm) (Entered: 03/21/2017)
 03/24/2017     28 RESPONSE in Opposition by USA as to Clif J. Seaway re 27 MOTION to
                   Suppress (Fletcher, Lisa) (Additional attachment(s) added on 3/24/2017: # 1
                   Exhibit 1 - Sealed) (jlr, ). (Attachment 1 replaced on 4/19/2017) (jlr, ). (Entered:
                   03/24/2017)
 03/24/2017     29 Letter APPLICATION from Lisa M. Fletcher, AUSA as to Clif J. Seaway
                   requesting To seal Exhibit 1 of the 28 Response. (jlm) (Entered: 03/24/2017)
 03/24/2017     30 Order to Seal Document (Exhibit 1) of the Government's 28 Response as to Clif
                   J. Seaway. Signed by Senior Judge Norman A. Mordue on 3/24/17. (jlm)
                   (Entered: 03/24/2017)




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 04/04/2017         TEXT NOTICE - The 27 MOTION to Suppress by Clif J. Seaway is on submit.
                    NO appearances. The is No oral argument on the scheduled motion return date,
                    unless Judge Mordue's chambers sua sponte directs and schedules oral
                    argument. (jlm) (Entered: 04/04/2017)
 06/22/2017     31 ORDER denying the defendant's 27 Motion to Suppress as to Clif J. Seaway (1).
                   The period from March 15, 2017 until the date of the decision herein onJune 22,
                   2017 is excluded in computing time under the Speedy Trial Act in the interests
                   of justice. Signed by Senior Judge Norman A. Mordue on 6/22/17.(jlm)
                   (Entered: 06/22/2017)
 07/07/2017     32 STIPULATION by USA to 115 Day Extension of Time (Fletcher, Lisa)
                   (Entered: 07/07/2017)
 07/10/2017     33 ORDER TO CONTINUE - Ends of Justice as to Clif J. Seaway, Tammy J.
                   Lamere Time excluded from 7/10/17 until 10/25/17. Firm Date for the Jury Trial
                   - reset to 10/25/2017 09:00 AM in Syracuse before Senior Judge Norman A.
                   Mordue. Signed by Senior Judge Norman A. Mordue on 7/10/17. (jlm) (Entered:
                   07/10/2017)
 07/20/2017     34 NOTICE OF ATTORNEY APPEARANCE: Courtenay K. McKeon appearing
                   for Clif J. Seaway as substituted with/for Attorney: Juan J. Rodriguez, Esq.
                   (McKeon, Courtenay) (Entered: 07/20/2017)
 07/31/2017     35 NOTICE OF HEARING as to Clif J. Seaway and Tammy J. Lamere. The Jury
                   Trial is set for 10/25/2017 at 09:00 AM in Syracuse before Senior Judge
                   Norman A. Mordue. This is a FIRM trial date. Counsel shall file All Court
                   Order Pretrial Papers on or before 10/2/2017. (jlm) (Entered: 07/31/2017)
 08/15/2017         TEXT NOTICE OF HEARING as to Tammy J. Lamere. A Change of Plea
                    Hearing is set for 8/21/2017 at 11:00 AM in Syracuse before Senior Judge
                    Norman A. Mordue. (jlm) (Entered: 08/15/2017)
 08/18/2017     36 Letter from ROBERT G. WELLS as to Tammy J. Lamere requesting REMOVE
                   CHANGE OF PLEA APPEARANCE FROM CALENDAR (Attachments: # 1
                   Exhibit(s) Certificate of Electronic Service)(Wells, Robert) (Entered:
                   08/18/2017)
 08/18/2017     37 TEXT ORDER as to Tammy J. Lamere Denying the 36 Letter from ROBERT
                   G. WELLS as to Tammy J. Lamere requesting adjournment of the Plea
                   Appearance from the calendar scheduled for Monday, August 21, 2017 at 11:00
                   a.m. Counsel shall appear as scheduled. So Ordered by Senior Judge Norman A.
                   Mordue on 8/18/17. (jlm) (Entered: 08/18/2017)
 08/21/2017     38 NOTICE OF ATTORNEY APPEARANCE: Carina Hyatt Schoenberger
                   appearing for USA as co-counsel with Attorney Lisa M. Fletcher (Schoenberger,
                   Carina) (Entered: 08/21/2017)
 08/21/2017     39 ORAL MOTION for Psychiatric Exam by Robert Wells, Esq., for Tammy J.
                   Lamere. (jlm) (Entered: 08/21/2017)
 08/21/2017         TEXT Minute Entry for Motion Hearing as to Tammy J. Lamere held on
                    8/21/2017 re 39 ORAL MOTION for Psychiatric Exam filed by Tammy J.
                    Lamere before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher, AUSA;



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                     Robert G. Wells, Esq. No objection by Government. Judge signs order.
                     Defendant remanded. (Court Reporter Eileen McDonough) (jlm) (Entered:
                     08/21/2017)
 08/22/2017     40 ORDER granting the 39 Motion for Psychiatric Exam as to Tammy J. Lamere
                   (2). Signed by Senior Judge Norman A. Mordue on 8/22/2017.(jlm) (Entered:
                   08/22/2017)
 09/05/2017     41 MOTION to Consolidate Cases by USA as to Clif J. Seaway. Motion Hearing
                   set for 10/4/2017 10:00 AM in Syracuse before Senior Judge Norman A.
                   Mordue Response to Motion due by 9/18/2017 Reply to Response to Motion due
                   by 9/25/2017. (Fletcher, Lisa) (Entered: 09/05/2017)
 09/07/2017          TEXT NOTICE TO COUNSEL: The 41 Motion will be heard on submission of
                     the papers. No reply is permitted. (rjb, ) (Entered: 09/07/2017)
 09/18/2017     42 Letter Motion from AUSA Lisa Fletcher Requesting the Court to Send Attached
                   Questionnaire to Prospective Jurors as to Clif J. Seaway (Attachments: # 1 Juror
                   Questionnaire)(Fletcher, Lisa) Modified on 9/20/2017 (jlm). (Entered:
                   09/18/2017)
 09/19/2017     43 Letter from Randi J. Bianco, Esq. as to Clif J. Seaway requesting list of names
                   of jury pool (Bianco, Randi) (Entered: 09/19/2017)
 09/20/2017     44 ORDER granting the 41 Motion to Consolidate Cases as to Clif J. Seaway (1)
                   for trial; and granting the 42 Joint Letter Motion as to Clif J. Seaway (1) to send
                   a questionnaire, which has been approved by both parties, to the prospective
                   jurors in advance of trial. Case no. 5:16-cr-0339 is now designated as the lead
                   case as to Defendant Clif Seaway for trial purposes. The charges against Clif
                   Seaway are severed from those against codefendant Tammy Lamere in 5:16-CR-
                   0340. ALL FUTURE FILINGS as to Defendant SEAWAY MUST BE FILED
                   ONLY IN THE LEAD CASE, 5:16-CR-339. NO FURTHER FILINGS SHALL
                   BE DOCKETED IN THE MEMBER CASE as to Defendant Seaway, 5:16-CR-
                   340. Signed by Senior Judge Norman A. Mordue on 9/20/2017.(jlm) (Entered:
                   09/20/2017) (Entered: 09/20/2017)
 09/25/2017     45 NOTICE OF ATTORNEY APPEARANCE: Tamara Thomson appearing for
                   USA as co-counsel with Attorney Lisa M. Fletcher for the forfeiture aspects of
                   the case (Thomson, Tamara) (Entered: 09/25/2017)
 10/19/2017     46 Letter from AUSA Lisa Fletcher and AUSA Carina Schoenberger as to Clif J.
                   Seaway requesting an adjournment of trial (Fletcher, Lisa) (Entered:
                   10/19/2017)
 11/20/2017     47 Letter Motion from USA Regarding Defendant's Contribution to Cost of Legal
                   Fees as to Tammy J. Lamere (Thomson, Tamara) Modified on 11/21/2017 (jlm).
                   (Entered: 11/20/2017)
 11/21/2017     48 ORDER REFERRING LETTER MOTION as to Tammy J. Lamere to
                   Magistrate Dancks. RE 47 MOTION for Hearing/or consideration on costs of
                   appointed counsel filed by USA. So Ordered by Senior Judge Norman A.
                   Mordue on 11/20/17. (jlm) (Entered: 11/21/2017)
 11/22/2017     49



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                    TEXT ORDER as to Tammy J. Lamere: Court has reviewed the government's
                    letter motion (Dkt. No. 47 ) for a hearing pursuant to 18 USC Section 3006A(F),
                    and for an interim order for the Bureau of Prisons to hold on deposit all funds
                    held in defendant's inmate trust account except funds earned by defendant from
                    prison employment. Letter motion granted. The Bureau of Prisons shall place a
                    hold on all funds deposited in defendant's inmate trust account except funds
                    earned by defendant from prison employment until further order of this court. A
                    hearing will be scheduled, a separate text notice will be issued setting the date
                    and time. SO ORDERED by Magistrate Judge Therese Wiley Dancks on
                    11/22/2017.(sg) (Entered: 11/22/2017)
 11/22/2017     50 TEXT ORDER as to Tammy J. Lamere: In light of the defendant currently
                   undergoing a court ordered psychiatric examination, counsel are directed to
                   advise the Court when said examination is completed so that a hearing may
                   scheduled before Magistrate Judge Dancks to determine defendant's current
                   financial eligibility for court appointed counsel. SO ORDERED by Magistrate
                   Judge Therese Wiley Dancks on 11/22/2017. (sg) (Entered: 11/22/2017)
 11/30/2017         TEXT NOTICE OF HEARING as to Tammy J. Lamere. A Competency
                    Hearing is set for 12/18/2017 at 10:30 AM in Syracuse before Senior Judge
                    Norman A. Mordue. (jlm) (Entered: 11/30/2017)
 12/14/2017     52 JURY VERDICT (Redacted) as to Clif J. Seaway (1) Guilty on Count 1-5. Also
                   filed in Lead Case 5:16-cr-0339. (jlm) (Entered: 12/14/2017)
 12/14/2017         TEXT NOTICE - Counsel are directed to file forthwith any exhibit and witness
                    lists in reference to the Competency Hearing scheduled as to Tammy J. Lamere
                    scheduled for December 18, 2017 at 10:30 am.(jlm) (Entered: 12/14/2017)
 12/18/2017     53 OFFER OF PROOF filed by the Government as to Tammy J. Lamere.
                   (Attachments: # 1 Certificate of Service)(Fletcher, Lisa) (Entered: 12/18/2017)
 12/18/2017         TEXT Minute Entry for Competency Hearing as to Tammy J. Lamere held on
                    12/18/2017 before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher,
                    AUSA; Carina Schoenberger, AUSA; Roberts Wells, Esq. Judge finds defendant
                    competent to stand trial; Defendant wishes to proceed to a plea. A Change of
                    Plea Hearing as to Tammy J. Lamere held on 12/18/2017. Plea entered by
                    Tammy J. Lamere (2) of Guilty to Counts 1 and 2 of the Indictment. Defendant
                    admits to the forfeiture allegations contained in the Indictment. No plea
                    agreement. Defendant remanded. (Court Reporter Eileen McDonough) (jlm)
                    (Entered: 12/18/2017)
 12/18/2017     54 GUIDELINE ORDER as to Tammy J. Lamere. Sentencing is set for 4/18/2018
                   at 10:00 AM in Syracuse before Senior Judge Norman A. Mordue. Government
                   and Defendant Sentencing Memo Deadline 3/28/2018. All letters of support
                   shall be electronically filed in accordance with General Orders 22 and 52 and
                   shall be filed by 4/18/18. Signed by Senior Judge Norman A. Mordue on
                   12/18/17. (jlm) (Entered: 12/18/2017)
 01/02/2018     55 Letter from Tamara Thomson as to Tammy J. Lamere requesting that the
                   proposed Preliminary Order of Forfeiture be filed and a copy returned




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                    (Attachments: # 1 Proposed Order/Judgment proposed Preliminary Order of
                    Forfeiture)(Thomson, Tamara) (Entered: 01/02/2018)
 01/12/2018     56 PRELIMINARY ORDER DIRECTING FORFEITURE OF SPECIFIC
                   PROPERTY: as noted herein, as to Tammy J. Lamere. Signed by Senior Judge
                   Norman A. Mordue on 1/12/2018. {Electronically certified copy sent to Tamara
                   B. Thomson, AUSA} (jmb) (Entered: 01/12/2018)
 02/28/2018     57 SERVICE by Publication of Notice of Forfeiture; Last publication date 2/24/18
                   in www.forfeiture.gov filed by USA (Thomson, Tamara) (Entered: 02/28/2018)
 03/08/2018     58 PRESENTENCE INVESTIGATION REPORT - INITIAL DISCLOSURE
                   [LODGED] as to Tammy J. Lamere. The Presentence Investigation Report in
                   this matter is now available for review. Any objections to the report shall be
                   served on the Probation Office within 14 days of this notice, by mailing a hard
                   copy to the Probation Officer. Please contact the probation officer who prepared
                   the report if you have any questions.[This document has been electronically
                   lodged with the Court and is viewable by ONLY the attorney for the
                   government, the attorney for the defendant, and the presiding judge. It is
                   not a filed document, therefore is not available for public inspection. Any
                   further distribution or dissemination is prohibited.] (dct, ) (Entered:
                   03/08/2018)
 03/28/2018         TEXT NOTICE OF HEARING as to Tammy J. Lamere. The Sentencing is reset
                    for 5/23/2018 at 10:00 AM in Syracuse before Senior Judge Norman A. Mordue.
                    All sentencing memoranda shall be filed on or before 5/2/18. Any letters of
                    support shall be filed electronically on or before 5/2/18.(jlm) (Entered:
                    03/28/2018)
 03/29/2018     59 PRESENTENCE INVESTIGATION REPORT - FINAL DISCLOSURE
                   [LODGED] as to Tammy J. Lamere. The final version of the Presentence
                   Investigation Report, including all revisions and the most recent Addendum is
                   now available for review. This version of the report will be used by the Court at
                   the time of sentencing. [This document has been electronically lodged with
                   the Court and is viewable by ONLY the attorney for the government, the
                   attorney for the defendant, and the presiding judge. Any further
                   distribution or dissemination is prohibited.] (Bates, Nicole) (Entered:
                   03/29/2018)
 03/30/2018     60 SENTENCING MEMORANDUM by USA as to Tammy J. Lamere (Fletcher,
                   Lisa) (Entered: 03/30/2018)
 04/11/2018     61 PRESENTENCE INVESTIGATION REPORT - FINAL DISCLOSURE
                   [LODGED] as to Clif J. Seaway. The final version of the Presentence
                   Investigation Report, including all revisions and the most recent Addendum is
                   now available for review. This version of the report will be used by the Court at
                   the time of sentencing. [This document has been electronically lodged with
                   the Court and is viewable by ONLY the attorney for the government, the
                   attorney for the defendant, and the presiding judge. Any further
                   distribution or dissemination is prohibited.] (Bates, Nicole) (Entered:
                   04/11/2018)




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 05/02/2018     62 First SENTENCING MEMORANDUM by Tammy J. Lamere (Attachments: # 1
                   Exhibit(s) Certificate of Service)(Wells, Robert) (Entered: 05/02/2018)
 05/03/2018         TEXT Minute Entry for Sentencing held on 5/3/2018 for Clif J. Seaway (1)
                    before Senior Judge Norman A. Mordue. APPR: Lisa Fletcher, AUSA Carina
                    Schoenberger, AUSA; Randi Juda Bianco, Esq.; Courtenay McKeon, Esq.
                    Victims speak. Defendant is sentenced on Counts 1-7 of Indictment 5:16-cr-339
                    and Counts 1-5 of the Indictment in 5:16-cr-340 to 4,320 months (or 360 years)
                    This term consists of 360 months on each count of conviction: all to run
                    consecutively with each other. $1,200 special assessment, waived pursuant to 18
                    USC 3573. No fine imposed. Supervised release of life on each count to run
                    concurrently. Defendant remanded to the custody of the USM. Judge
                    recommends that the defendant be housed at FCI Tucson. (Court Reporter
                    Eileen McDonough) (jlm) (Entered: 05/03/2018)
 05/08/2018     63 JUDGMENT as to Clif J. Seaway (1), Count(s) 1-5 in 5:16-cr-340-001, for a
                   total of 4,320 months between 5:16-cr-339-001 and 5:16-cr-340-001 (or 360
                   years per count in each case). This term consists of 360 months on each count of
                   conviction, all to run consecutively with each other. Supervised release of life on
                   each count to run concurrently. Signed by Senior Judge Norman A. Mordue on
                   5/8/2018. (plp) (Entered: 05/08/2018)
 05/08/2018     64 STATEMENT OF REASONS [LODGED] as to Clif J. Seaway [This
                   document has been electronically lodged with the Court and is viewable by
                   ONLY the attorney for the government, the attorney for the defendant, and
                   the presiding judge. It is not a filed document, therefore is not available for
                   public inspection. Any further distribution or dissemination is prohibited.]
                   (plp, ) (Entered: 05/08/2018)
 05/15/2018         TEXT NOTICE OF HEARING as to Tammy J. Lamere. The Sentencing is reset
                    for 6/18/2018 at10:00 AM in Syracuse before Senior Judge Norman A. Mordue.
                    (jlm) (Entered: 05/15/2018)
 06/18/2018         Minute Entry for Sentencing held on 6/18/2018 for Tammy J. Lamere (2) before
                    Senior Judge Norman A. Mordue. APPR: Lisa Fletcher, AUSA; Carina
                    Schoenberger, AUSA; Robert Wells, Esq. Defendant is sentenced on Counts 1-2
                    of the Indictment to 360 months imprisonment on each Count to be served
                    concurrently. 15 years supervised release to follow. $200.00 Special Assessment
                    and $8,000 fine, both due immediately. Forfeiture as listed in Preliminary Order
                    of Forfeiture; Appeal rights explained. Defendant remanded. (Court Reporter
                    Jodi Hibbard) (jlm) (Entered: 06/18/2018)
 06/22/2018     65 JUDGMENT as to Tammy J. Lamere (2). Defendant sentenced on Counts 1-2 of
                   the Indictment to 360 months imprisonment on each Count to be served
                   concurrently. 15 years supervised release to follow. Signed by Senior Judge
                   Norman A. Mordue on 6/22/2018. (jlm) (Entered: 06/22/2018)
 06/22/2018     66 STATEMENT OF REASONS [LODGED] as to Tammy J. Lamere [This
                   document has been electronically lodged with the Court and is viewable by
                   ONLY the attorney for the government, the attorney for the defendant, and
                   the presiding judge. It is not a filed document, therefore is not available for




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                    public inspection. Any further distribution or dissemination is prohibited.]
                    (plp, ) (Entered: 06/22/2018)
 06/25/2018     67 NOTICE OF APPEAL by Tammy J. Lamere re 65 Judgment, No fee paid.
                   (Wells, Robert) (Entered: 06/25/2018)
 06/26/2018     68 ELECTRONIC NOTICE AND CERTIFICATION as to Tammy J. Lamere sent
                   to US Court of Appeals, re: 67 Notice of Appeal - Final Judgment.
                   (Attachments: # 1 Criminal Appeals Packet)(see) (Entered: 06/26/2018)
 06/26/2018         NOTICE as to Tammy J. Lamere - Attorneys appointed pursuant to the Criminal
                    Justice Act are reminded that CJA Vouchers are to be submitted no later than 45
                    days after the final disposition of the case, unless good cause is shown. Refer to
                    the Court's website: http://www.nynd.uscourts.gov/criminal-justice-act for
                    comprehensive information relating to court appointed representation. (see)
                    (Entered: 06/26/2018)
 09/14/2018     69 NOTICE OF APPEAL: filed by Clif J. Seaway No fee paid. (Egan, James)
                   Modified on 9/19/2018 to remove Tammy J. Lamere from docket text. (jmb)
                   (Entered: 09/14/2018)
 09/19/2018     70 ELECTRONIC NOTICE AND CERTIFICATION: as to Clif J. Seaway sent to
                   US Court of Appeals regarding the # 69 Notice of Appeal - Final Judgment.
                   (jmb) (Entered: 09/19/2018)



                                     PACER Service Center
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                                            09/19/2018 10:40:06
                    PACER Login: melissatuohey Client Code:
                    Description:   Docket Report Search Criteria: 5:16-cr-00340-NAM
                    Billable Pages: 11            Cost:           1.10
                    Exempt flag:   Exempt         Exempt reason: Always




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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

v.
                                                            NOTICE OF MOTION
                                                            CASE NO. 5:16-CR-339 (NAM)
CLIF J. SEAWAY,

                                     Defendant.


       PLEASE TAKE NOTICE, that upon the annexed Memorandum of Law, Exhibits, and

all other proceedings heretofore had herein, a Motion will be made as follows:

       DATE, PLACE AND TIME OF MOTION: April 5, 2017, before the Honorable

Norman A. Mordue, in the United States District Court for the Northern District of New York,

James M. Hanley Federal Building,100 South Clinton Street, Syracuse, New York, 13261, at

10:00 A.M. or as soon thereafter as counsel can be heard.

       TYPE OF MOTION: Defendant seeks an Order of the Court suppressing physical

evidence and statements for such other and further relief as the Court may deem just and proper.


DATED:        February 28, 2017                           LISA A. PEEBLES
               Syracuse, New York                     Federal Public Defender


                                            By:       S/Randi J. Bianco, Esq.
                                                    Assistant Federal Public Defender
                                                    Bar Roll No. 507514
                                                    Office of the Federal Public Defender
                                                    4 Clinton Square, 3rd Floor
                                                    Syracuse, New York 13202
                                                    (315) 701-0080
TO:    Lisa Fletcher, Esq., AUSA
       Clif Seaway




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UNITED STATES DISTRICT COURT
NORTHER DISTRICT OF NEW YORK
______________________________________________________________________________

UNITED STATES OF AMERICA,

      -v-                                          CASE NO. 5:16-CR-0339 (NAM)

                                                   Time Previously Excluded:
                                                   December 16, 2016-March 15,
                                                   2017

CLIF J. SEAWAY,

                        Defendant.
______________________________________________________________________________




         MOTION TO SUPPRESS PHYSICAL EVIDENCE AND STATEMENTS




DATED:      February 28, 2017
            Syracuse, New York

                                            Respectfully submitted,

                                            LISA A. PEEBLES
                                            Federal Public Defender


                                     By:    Randi J. Bianco, Esq.
                                            Assistant Federal Public Defender
                                            Bar Roll No. 507514
                                            4 Clinton Square, 3rd Floor
                                            Syracuse, New York 13202
                                            (315)701-0080




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                                   PRELIMINARY STATEMENT

        The evidence in the case against the defendant, Clif Seaway (“Mr. Seaway”), stems from

a search warrant that was issued without probable cause. In addition, Mr. Seaway’s own statement

to police was involuntary. Accordingly, Mr. Seaway now moves to suppress all physical evidence

and statements in this case or, in the alternative, for an evidentiary hearing. He submits this

memorandum of law in support of that motion.


                                         BACKGROUND

        On September 24, 2015, William B. Raymond III, who was then thirty-five years old and

the father of seven children between the ages of seven and sixteen, was arrested and charged

with twice raping a thirteen-year-old girl. (Exhibits A, D.) He has referred to the thirteen-year-

old victim as his “girlfriend.” (Exhibit D.) After his arrest, he was held without bail at the

Onondaga County Justice Center. (Exhibit A.)

        On January 14, 2016, while still at the Justice Center, Raymond gave a statement to

Investigator Miller. (Exhibit D.) Raymond told Investigator Miller that Mr. Seaway, who is his

uncle, possessed child pornography. Id. Raymond also told Investigator Miller that Mr. Seaway

told him he had taken a video and pictures of a child “about 5 or 6 years ago” when he was living

in Indian Hill trailer park. Id.

        Over a month later, based entirely on Raymond’s statement and a one-phone-call inquiry

into Mr. Seaway’s criminal history, Investigator Michael R. Eckler of the New York State Police

applied for a search warrant authorizing a search of Mr. Seaway’s home and computers. (Ex. C

at 7.) Investigator Eckler’s application did not contain any description of any attempts to


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corroborate any of the information that Raymond had provided. The warrant was issued the same

day, February 18, 2016. (Ex. B.)

        The search warrant was executed on February 24, 2016. (Ex. E.) All of the evidence in

the case against Mr. Seaway, including his own statement to the police, stems from that warrant.

        Mr. Seaway gave a statement to police on February 24, 2016. (Ex. E.) The written

statement came as a result of a detention that lasted many hours, during which time Mr. Seaway

was visibly physically ill.

        Mr. Seaway was charged by complaint on March 2, 2016, with violating 18 U.S.C. §

2251(a) (sexual exploitation of a minor). (Dkt. No. 1.) He was indicted on November 17, 2016.

(Dkt. No. 17.) The indictment charges him with one count of conspiracy to sexually exploit a

child and six counts of sexual exploitation of a child. Id. Trial is scheduled for May 1, 2017.

(Dkt. No. 26.)


                                          ARGUMENT

   I.      The Search Warrant Was Not Supported by Probable Cause Because the Face of
           the Application Showed That Raymond Was Unreliable and That No Effort Had
           Been Made to Corroborate the Information He Provided.

        The Fourth Amendment prohibits “unreasonable searches” by the government. U.S.

CONST. amend. IV; United States v. Jacobsen, 466 U.S. 109, 113 (1984). To be valid under the

Fourth Amendment, a search warrant must (1) be based on probable cause, (2) be supported by

oath or affirmation, (3) describe with particularity the place to be searched, and (4) describe with

particularity the things to be seized. Groh v. Ramirez, 540 U.S. 551, 557 (2004).




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       Probable cause for a search exists “where the known facts and circumstances are

sufficient to warrant a [person] of reasonable prudence in the belief that contraband or evidence

of a crime will be found.” Ornelas v. United States, 517 U.S. 690, 696 (1996).

       Where the information needed to supply probable cause comes from an informant, the

court must consider the totality of the circumstances, including, but not limited to, “an

informant's veracity, reliability and basis of knowledge, and the extent to which an informant's

statements—even statements about a suspect's innocent activities—are independently

corroborated.” United States v. Gagnon, 373 F.3d 230, 236 (2d Cir. 2004).

       Here, all of the information needed to supply probable cause for the warrant for the

search of Mr. Seaway’s home came from Raymond. Nothing in the warrant application,

however, provided the issuing magistrate with any reason to trust Raymond’s veracity or

reliability. Indeed, the face of the warrant application showed that Raymond’s word should not

be trusted. At the time he gave his statement about Mr. Seaway, Raymond was in jail on very

serious charges. His very presence in jail facing charges lessens the reliability of his statement

because, as the Second Circuit has noted, an informer who is a criminal is less reliable than an

innocent bystander with no apparent motive to falsify. Gagnon, 373 F.3d at 236. In addition,

Raymond, by his own admission, had saved pictures of ex-girlfriends on Mr. Seaway’s

computer. (Ex. D.) He had every motive in the world to try to place blame for any images

discovered on that computer on someone else.

        Further, nothing in the warrant application indicates that any effort at all was made to

independently corroborate Raymond’s statements. There is nothing in the warrant application

indicating that officers undertook any investigation at all in the month that elapsed between

Raymond’s statement and the date of the application. Officers could have, for instance, driven by
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Mr. Seaway’s property and observed that there was, indeed, an old school bus. They could have

run a records search to determine whether Mr. Seaway had ever lived at the Indian Hill trailer

park. They could have sought statements from the complainants in Mr. Seaway’s previous arrests

to see if their recollections supported Raymond’s descriptions of Mr. Seaway’s activities. The

warrant application does not indicate that officers did any of these things.

         In sum, the warrant application was based entirely on the word of man with no reason to

tell the truth. Such information is insufficient to provide probable cause. The warrant,

accordingly, was not supported by probable cause. The defense, therefore, requests that the Court

suppress all of the evidence acquired as a result of the warrant or, in the alternative, conduct an

evidentiary hearing regarding the issue.

   II.      Mr. Seaway is Not Required to File an Affidavit in Support of this Motion
            Because None of the Pertinent Facts Are Within His Personal Knowledge as
            Contemplated By Local Rule 12.1(e).


   The government may argue that Mr. Seaway is not entitled to an evidentiary hearing because

he has not filed an affidavit in support of this motion. In order to receive an evidentiary hearing,

a defendant must make a preliminary showing of facts which, if proved, would require the

granting of relief. United States v. Pena, 961 F.2d 333, 339 (2d Cir. 1992). Often motions to

suppress are based on issues regarding consent or other matters within the personal knowledge of

the defendant. See, e.g., United States v. Miller, 382 F. Supp. 2d 350, 362 (N.D.N.Y. 2005) (In

the defendant’s affidavit “[h]e denied running the red light [and] stated that initial police

questioning was conducted pre-Miranda, that he did not consent to a vehicle search, and that he

did not own the coat or items seized from the safe.”) In this case, however, the relevant facts are

not within the personal knowledge of Mr. Seaway or of any individual from whom the defense

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could obtain an affidavit. Therefore, the absence of an affidavit from Mr. Seaway does not mean

that the defense is not entitled to an evidentiary hearing. If the Court finds that information from

Mr. Seaway is required, the defense will gladly provide an affidavit along with its reply papers.

   III.     Suppression of All of the Physical Evidence and Statements is the Appropriate
            Remedy.

   “To give effect to the Fourth Amendment's guarantee against unreasonable searches and

seizures, and to deter illegal police conduct, the Court must apply the exclusionary rule and

suppress any evidence unconstitutionally obtained. See Nix v. Williams, 467 U.S. 431, 442–43,

104 S.Ct. 2501, 81 L.Ed.2d 377 (1984); Weeks v. United States, 232 U.S. 383, 398, 34 S.Ct. 341,

58 L.Ed. 652 (1914) . . . . The Supreme Court's fruit-of-the-poisonous-tree doctrine also bars the

use of evidence obtained either during or as a direct result of an unlawful invasion. See Wong

Sun v. United States, 371 U.S. 471, 488, 83 S.Ct. 407, 9 L.Ed.2d 441 (1963).” United States v.

Couch, 378 F. Supp. 2d 50, 62 (N.D.N.Y. 2005). Here, all of the evidence against Mr. Seaway,

including his statement to police, was acquired as a result of a warrant unsupported by probable

cause. Therefore, the defense requests that the Court suppress all of the evidence.

   IV.      The Court Should Suppress Evidence of Mr. Seaway’s Statement Because It
            Was Not Voluntary

   All confessions must be voluntary. Involuntary confessions violate due process and implicate

the Fifth Amendment privilege against self-incrimination. Brown v. Mississippi, 297 U.S. 278,

286 (1936); Miranda v. Arizona, 384 U.S. 436, 460-63 (1966). In determining whether a

confession was involuntary, a court looks at the totality of the circumstances, including (1) the

characteristics of the accused; (2) the conditions of the interrogation; and (3) the conduct of law

enforcement officials. Green v. Scully, 850 F.2d 894, 901-02 (2d Cir. 1988). A defendant

challenging the voluntariness of a confession has the right to “a fair hearing and a reliable
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determination on the issue of voluntariness.” Jackson v. Denno, 378 U.S. 368, 377 (1964). The

inquiry is particularly fact-intensive where a defendant alleges that police coerced a confession

by improperly taking advantage of his weakened physical condition.

       Here, the interrogation of Mr. Seaway lasted for up to eight hours. In the video of the

interrogation, he is visibly and audibly hacking, coughing, and weakened. Therefore, Mr.

Seaway requests a hearing on the voluntariness of his confession.


                                          CONCLUSION

       For the reasons discussed above, the defense requests that the Court suppress all physical

evidence and statements in this case. In the alternative, the defense requests an evidentiary hearing.



DATED:         February 28, 2017                      LISA A. PEEBLES
                                                      Federal Public Defender

                                               By:    /s/
                                                      Randi J. Bianco, Esq.
                                                      Assistant Federal Public Defender
                                                      Clinton Exchange, 3rd Floor
                                                      4 Clinton Square
                                                      Syracuse, New York 13202
                                                      (315) 701-0080




TO:    Lisa Fletcher, Esq., AUSA (via ECF)
       Clif J. Seaway, Cayuga County Jail (via mail)




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                        Exhibit B                              A. 57
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

v.
                                                            NOTICE OF MOTION
                                                            CASE NO. 5:16-CR-340 (NAM)
CLIF J. SEAWAY,

                                     Defendant.


       PLEASE TAKE NOTICE, that upon the annexed Memorandum of Law, Exhibits, and

all other proceedings heretofore had herein, a Motion will be made as follows:

       DATE, PLACE AND TIME OF MOTION: April 5, 2017, before the Honorable

Norman A. Mordue, in the United States District Court for the Northern District of New York,

James M. Hanley Federal Building,100 South Clinton Street, Syracuse, New York, 13261, at

10:00 A.M. or as soon thereafter as counsel can be heard.

       TYPE OF MOTION: Defendant seeks an Order of the Court suppressing physical

evidence and statements for such other and further relief as the Court may deem just and proper.


DATED:        March 3, 2017                               LISA A. PEEBLES
              Syracuse, New York                      Federal Public Defender


                                            By:       S/Randi J. Bianco, Esq.
                                                    Assistant Federal Public Defender
                                                    Bar Roll No. 507514
                                                    Office of the Federal Public Defender
                                                    4 Clinton Square, 3rd Floor
                                                    Syracuse, New York 13202
                                                    (315) 701-0080
TO:    Lisa Fletcher, Esq., AUSA
       Clif Seaway




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UNITED STATES DISTRICT COURT
NORTHER DISTRICT OF NEW YORK
______________________________________________________________________________

UNITED STATES OF AMERICA,

      -v-                                          CASE NO. 5:16-CR-0340 (NAM)

                                                   Time Previously Excluded:
                                                   December 16, 2016-March 15,
                                                   2017

CLIF J. SEAWAY,

                        Defendant.
______________________________________________________________________________




         MOTION TO SUPPRESS PHYSICAL EVIDENCE AND STATEMENTS




DATED:      March 3, 2017
            Syracuse, New York

                                            Respectfully submitted,

                                            LISA A. PEEBLES
                                            Federal Public Defender


                                     By:    Randi J. Bianco, Esq.
                                            Assistant Federal Public Defender
                                            Bar Roll No. 507514
                                            4 Clinton Square, 3rd Floor
                                            Syracuse, New York 13202
                                            (315)701-0080




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                                   PRELIMINARY STATEMENT

        The evidence in the case against the defendant, Clif Seaway (“Mr. Seaway”), stems from

a search warrant that was issued without probable cause. In addition, Mr. Seaway’s own statement

to police was involuntary. Accordingly, Mr. Seaway now moves to suppress all physical evidence

and statements in this case or, in the alternative, for an evidentiary hearing. He submits this

memorandum of law in support of that motion.


                                         BACKGROUND

        On September 24, 2015, William B. Raymond III, who was then thirty-five years old and

the father of seven children between the ages of seven and sixteen, was arrested and charged

with twice raping a thirteen-year-old girl. (Exhibits A, D.) He has referred to the thirteen-year-

old victim as his “girlfriend.” (Exhibit D.) After his arrest, he was held without bail at the

Onondaga County Justice Center. (Exhibit A.)

        On January 14, 2016, while still at the Justice Center, Raymond gave a statement to

Investigator Miller. (Exhibit D.) Raymond told Investigator Miller that Mr. Seaway, who is his

uncle, possessed child pornography. Id. Raymond also told Investigator Miller that Mr. Seaway

told him he had taken a video and pictures of a child “about 5 or 6 years ago” when he was living

in Indian Hill trailer park. Id.

        Over a month later, based entirely on Raymond’s statement and a one-phone-call inquiry

into Mr. Seaway’s criminal history, Investigator Michael R. Eckler of the New York State Police

applied for a search warrant authorizing a search of Mr. Seaway’s home and computers. (Ex. C

at 7.) Investigator Eckler’s application did not contain any description of any attempts to




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corroborate any of the information that Raymond had provided. The warrant was issued the same

day, February 18, 2016. (Ex. B.)

        The search warrant was executed on February 24, 2016. (Ex. E.) All of the evidence in

the case against Mr. Seaway, including his own statement to the police, stems from that warrant.

        Mr. Seaway gave a statement to police on February 24, 2016. (Ex. E.) The written

statement came as a result of a detention that lasted many hours, during which time Mr. Seaway

was visibly physically ill.

        Mr. Seaway was charged by complaint on March 2, 2016, with violating 18 U.S.C. §

2251(a) (sexual exploitation of a minor). (Dkt. No. 1.) He was indicted on November 17, 2016.

(Dkt. No. 17.) The indictment charges him with one count of conspiracy to sexually exploit a

child and six counts of sexual exploitation of a child. Id. Trial is scheduled for May 1, 2017.

(Dkt. No. 26.)


                                          ARGUMENT

   I.      The Search Warrant Was Not Supported by Probable Cause Because the Face of
           the Application Showed That Raymond Was Unreliable and That No Effort Had
           Been Made to Corroborate the Information He Provided.

        The Fourth Amendment prohibits “unreasonable searches” by the government. U.S.

CONST. amend. IV; United States v. Jacobsen, 466 U.S. 109, 113 (1984). To be valid under the

Fourth Amendment, a search warrant must (1) be based on probable cause, (2) be supported by

oath or affirmation, (3) describe with particularity the place to be searched, and (4) describe with

particularity the things to be seized. Groh v. Ramirez, 540 U.S. 551, 557 (2004).




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       Probable cause for a search exists “where the known facts and circumstances are

sufficient to warrant a [person] of reasonable prudence in the belief that contraband or evidence

of a crime will be found.” Ornelas v. United States, 517 U.S. 690, 696 (1996).

       Where the information needed to supply probable cause comes from an informant, the

court must consider the totality of the circumstances, including, but not limited to, “an

informant's veracity, reliability and basis of knowledge, and the extent to which an informant's

statements—even statements about a suspect's innocent activities—are independently

corroborated.” United States v. Gagnon, 373 F.3d 230, 236 (2d Cir. 2004).

       Here, all of the information needed to supply probable cause for the warrant for the

search of Mr. Seaway’s home came from Raymond. Nothing in the warrant application,

however, provided the issuing magistrate with any reason to trust Raymond’s veracity or

reliability. Indeed, the face of the warrant application showed that Raymond’s word should not

be trusted. At the time he gave his statement about Mr. Seaway, Raymond was in jail on very

serious charges. His very presence in jail facing charges lessens the reliability of his statement

because, as the Second Circuit has noted, an informer who is a criminal is less reliable than an

innocent bystander with no apparent motive to falsify. Gagnon, 373 F.3d at 236. In addition,

Raymond, by his own admission, had saved pictures of ex-girlfriends on Mr. Seaway’s

computer. (Ex. D.) He had every motive in the world to try to place blame on someone else for

any images discovered on that computer.

        Further, nothing in the warrant application indicates that any effort at all was made to

independently corroborate Raymond’s statements. There is nothing in the warrant application

indicating that officers undertook any investigation at all in the month that elapsed between

Raymond’s statement and the date of the application. Officers could have, for instance, driven by




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Mr. Seaway’s property and observed whether there was, indeed, an old school bus. They could

have run a records search to determine whether Mr. Seaway had ever lived at the Indian Hill

trailer park. They could have sought statements from the complainants in Mr. Seaway’s previous

arrests to see if their recollections supported Raymond’s descriptions of Mr. Seaway’s activities.

The warrant application does not indicate that officers did any of these things.

         In sum, the warrant application was based entirely on the word of man with no reason to

tell the truth. Such information is insufficient to provide probable cause. The warrant,

accordingly, was not supported by probable cause. The defense, therefore, requests that the Court

suppress all of the evidence acquired as a result of the warrant or, in the alternative, conduct an

evidentiary hearing regarding the issue.

   II.      Mr. Seaway is Not Required to File an Affidavit in Support of this Motion
            Because None of the Pertinent Facts Are Within His Personal Knowledge as
            Contemplated By Local Rule 12.1(e).


   The government may argue that Mr. Seaway is not entitled to an evidentiary hearing because

he has not filed an affidavit in support of this motion. In order to receive an evidentiary hearing,

a defendant must make a preliminary showing of facts which, if proved, would require the

granting of relief. United States v. Pena, 961 F.2d 333, 339 (2d Cir. 1992). Often motions to

suppress are based on issues regarding consent or other matters within the personal knowledge of

the defendant. See, e.g., United States v. Miller, 382 F. Supp. 2d 350, 362 (N.D.N.Y. 2005) (In

the defendant’s affidavit “[h]e denied running the red light [and] stated that initial police

questioning was conducted pre-Miranda, that he did not consent to a vehicle search, and that he

did not own the coat or items seized from the safe.”) In this case, however, the relevant facts are

not within the personal knowledge of Mr. Seaway or of any individual from whom the defense




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could obtain an affidavit. Therefore, the absence of an affidavit from Mr. Seaway does not mean

that the defense is not entitled to an evidentiary hearing. If the Court finds that information from

Mr. Seaway is required, the defense will gladly provide an affidavit along with its reply papers.

   III.     Suppression of All of the Physical Evidence and Statements is the Appropriate
            Remedy.

   “To give effect to the Fourth Amendment's guarantee against unreasonable searches and

seizures, and to deter illegal police conduct, the Court must apply the exclusionary rule and

suppress any evidence unconstitutionally obtained. See Nix v. Williams, 467 U.S. 431, 442–43,

104 S.Ct. 2501, 81 L.Ed.2d 377 (1984); Weeks v. United States, 232 U.S. 383, 398, 34 S.Ct. 341,

58 L.Ed. 652 (1914) . . . . The Supreme Court's fruit-of-the-poisonous-tree doctrine also bars the

use of evidence obtained either during or as a direct result of an unlawful invasion. See Wong

Sun v. United States, 371 U.S. 471, 488, 83 S.Ct. 407, 9 L.Ed.2d 441 (1963).” United States v.

Couch, 378 F. Supp. 2d 50, 62 (N.D.N.Y. 2005). Here, all of the evidence against Mr. Seaway,

including his statement to police, was acquired as a result of a warrant unsupported by probable

cause. Therefore, the defense requests that the Court suppress all of the evidence.

   IV.      The Court Should Suppress Evidence of Mr. Seaway’s Statement Because It
            Was Not Voluntary

   All confessions must be voluntary. Involuntary confessions violate due process and implicate

the Fifth Amendment privilege against self-incrimination. Brown v. Mississippi, 297 U.S. 278,

286 (1936); Miranda v. Arizona, 384 U.S. 436, 460-63 (1966). In determining whether a

confession was involuntary, a court looks at the totality of the circumstances, including (1) the

characteristics of the accused; (2) the conditions of the interrogation; and (3) the conduct of law

enforcement officials. Green v. Scully, 850 F.2d 894, 901-02 (2d Cir. 1988). A defendant

challenging the voluntariness of a confession has the right to “a fair hearing and a reliable




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determination on the issue of voluntariness.” Jackson v. Denno, 378 U.S. 368, 377 (1964). The

inquiry is particularly fact-intensive where a defendant alleges that police coerced a confession

by improperly taking advantage of his weakened physical condition.

       Here, the interrogation of Mr. Seaway lasted for up to eight hours. In the video of the

interrogation, he is visibly and audibly hacking, coughing, and weakened. Therefore, Mr.

Seaway requests a hearing on the voluntariness of his confession.


                                          CONCLUSION

       For the reasons discussed above, the defense requests that the Court suppress all physical

evidence and statements in this case. In the alternative, the defense requests an evidentiary hearing.



DATED:         March 3, 2017                          LISA A. PEEBLES
                                                      Federal Public Defender

                                               By:    /s/
                                                      Randi J. Bianco, Esq.
                                                      Assistant Federal Public Defender
                                                      Clinton Exchange, 3rd Floor
                                                      4 Clinton Square
                                                      Syracuse, New York 13202
                                                      (315) 701-0080




TO:    Lisa Fletcher, Esq., AUSA (via ECF)
       Clif J. Seaway, Cayuga County Jail (via mail)




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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF NEW YORK

_____________________________
UNITED STATES OF AMERICA

       v.                                               Crim. No. 5:16-CR-339 (NAM), and
                                                        Crim. No. 5:16-CR-340 (NAM)
CLIF J. SEAWAY,
                                                        GOVERNMENT’S RESPONSE TO
                                                        DEFENDANT’S OMNIBUS MOTIONS
                  Defendant.
_____________________________

       The United States of America, by and through its counsel of record, the United States

Attorney for the Northern District of New York, submits this memorandum in response to the

defendant’s motions to suppress, filed on February 28, 2017 (16-CR-339) and March 3, 2017 (16-

CR-340). As the two motions are identical in all respects, they are consolidated herein for

response. The defendant is requesting (1) suppression of statements he made to law enforcement,

and (2) suppression of evidence obtained pursuant to the execution of a state search warrant.

       For the reasons set forth below, the Government maintains that the defendant’s motions

should be denied.       The recording of the defendant’s interview with law enforcement

(Government’s Exhibit 1)1 proves the voluntariness of the defendant’s statements, and even if the

search warrant were lacking in probable cause, which it is not, law enforcement relied on it in good

faith in collecting the evidence of the defendant’s crimes. Additionally, the defendant’s motions

do not raise any issue of fact warranting a hearing.2




1
       The defendant was provided with this videotaped interview in discovery.

2
       While the defendant moves for suppression, or “[i]n the alternative,” a suppression hearing,
he does not identify any issue of fact requiring a hearing. Defendant’s Motion, p. 6.




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I.       Factual Background

         William Raymond is defendant Clif Seaway’s nephew. He was arrested in Onondaga

County in September, 2015 for statutory rape of a 13 yo girl, and is currently serving a 5-year

sentence for Rape in the Second Degree and Criminal Sexual Act in the Second Degree. While

incarcerated, he indicated, on more than one occasion, that he had information about his uncle Clif

Seaway.     In January, 2016 New York State Police (NYSP) Investigator Benjamin Miller

interviewed Raymond while Raymond was incarcerated at the Onondaga County Justice Center.

Raymond told Inv. Miller that he had lived with Seaway in August and September of 2015, and

that while there, he and Seaway worked on computers together, repairing and rebuilding them for

other people. While chatting about “old girlfriends” Raymond said he showed some pictures of

his old girlfriends to Seaway, Seaway told Raymond that he has some pictures too, and said to

Raymond: “Give me an age.” Raymond said he didn’t care, and Seaway showed him pictures and

videos of naked children who were clearly under 10 years old. From Raymond’s description, the

images and videos were clearly child pornography, likely from the Internet. On another occasion,

Seaway told Raymond that he had photographed one of his daughter’s friends while she spent the

night.

         Based upon Raymond’s information, the NYSP obtained a search warrant for Seaway’s

residence, and executed that warrant together with Homeland Security Investigations (HSI) on

February 23, 2016. That warrant, issued on February 18, 2016 by Hon. Donald E. Todd, Oswego

County Court Judge, is Exhibit B to the Defendant’s Motion. The Application and Affidavit of

New York State Police Inv. Michael Eckler, upon which the warrant is based, is Exhibit C to the

Defendant’s Motion. Raymond’s sworn affidavit was incorporated by reference and attached to

Inv. Eckler’s application.



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       A large number of items of electronic media were seized from Seaway’s residence,

including from within a bus on the property that was used for storage purposes. Forensic previews

conducted while the warrant was being executed located digital files of produced child

pornography involving Seaway and co-defendants Tammy Martin and Tammy Lamere. Some of

the recovered images were shown to Seaway during a Mirandized and recorded interview,

conducted contemporaneously with the search. (Exhibit 1)

       The interview of Seaway took place at the NYSP barracks in Fulton, New York. The

entirety of the interview is video and audio recorded, and a full copy of the interview is provided

as the Government’s Exhibit 1 to this motion response. The videotaped interview shows that

Seaway was properly given his Miranda warnings, and agreed to talk with investigators. (Exhibit

1, time marker 09:50). He was interviewed by NYSP Inv. Benjamin Miller and HSI SA Lon

Ziankoski. Seaway was not handcuffed or otherwise restrained, and the door to the interview was

left open during the entirety of the interview. The recording shows that while the interview was

lengthy, Seaway’s statements were not coerced, and were entirely voluntary. He never asked to

stop the interview, and was cooperative throughout. While he may have had an occasional cough,

Seaway never expressed any distress, nor did he ask to stop speaking to the officers. He was

allowed to walk in and out of the interview room unrestrained. See e.g. Exhibit 1, time marker

13:13 – 13:18.

       Seaway was provided with beverages and food, including water, coffee, and a donut (see,

e.g., Exhibit 1, time markers 10:02; 11:19; 11:20; 11:57), and engaged in a collegial conversation

with the investigators. Seaway even laughed when telling investigators about taking a picture of

a minor with a dog choker tied to his penis. Exhibit 1, time marker 11:22. He was allowed cigarette

and bathroom breaks upon request. See, e.g. Exhibit 1, time markers 12:00 – 12:10; 12:37 – 12:39;



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13:13 – 13:16; 14:25 – 14:29; 14:30 – 14:43; 16:03 – 16:07. There were other breaks in the

conversation as well. See, e.g. Exhibit 1, time markers 12:00 – 12:21; 12:37 – 12:42; 16:08 –

16:10.

         In the interview, Seaway admitted that he and Tammy Martin took sexually explicit photos

of themselves and the children – and indicated that where he is in an image, Tammy took the

picture, and where she is in an image, he took it. Seaway identified an image of Tammy Martin

performing oral sex on V2 (a male child born in 1997) when the child was 3 – 4 years old, and

stated that he took the image. Seaway also admitted to many acts of sexual abuse with V3 (a

female child born in 2004), and stated that he photographed much of it. He stated that the abuse

of V3 stopped, at her request, when she turned 9 ½. Seaway stated that he and Tammy Martin did

not believe they were hurting the children.

         Seaway further admitted sexual contact with V1 (a female child born in 1996) when she

was 4 – 5 years old, to having abused a child named L.T. when she was 4 – 5 years old, but stated

that L.T. died when she was 7. (Agents found a L.T. who may have been this child. L.T. is

deceased, but died as an adult, not a child).   Seaway also admitted abusing V3 with Tammy

Lamere, that Lamere had taken photos of V3 performing oral sex on Seaway, and that Seaway had

taken photos of V3 touching Lamere’s vagina and breasts.

         As a result of information obtained during the search at Seaway’s residence, and his

statements to police, Tammy Lamere was located and interviewed by NYSP and HSI. She

admitted in a Mirandized written statement that when she first started visiting Seaway he showed

her naked and sexually explicit images of V3, including pictures where Seaway was abusing V3.

Lamere admitted that she participated in the sexual abuse of V3, when V3 was 4 or 5 years old,

and that Seaway may have taken some pictures. Lamere further admitted that after she moved to



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Oswego County in 2010, the abuse, and photographing of it, continued. She stated that the pictures

were always taken with her camera, which she let Seaway use, and that he would download them

to his computer before deleting them from her camera. (Metadata confirms that many of the

recovered images were produced with the same model as the camera seized from Lamere’s

residence).

       Lamere consented to a search of electronic media at her home, which revealed images of

child pornography. The NYSP obtained a search warrant authorizing further forensic examination

of that media, as well as a search of Lamere’s residence for additional evidence. Additional

incriminating image and video files were recovered from Lamere’s media.3

       Also on February 24, 2016, Tammy Martin was located in Jefferson County, Mirandized,

and interviewed by the NYSP. Martin admitted that when V2 was still in diapers, Clif Seaway

asked her to put V3’s penis in her mouth. She said she did not want to do it, but Seaway insisted,

and so she did – on about 3 or 4 separate occasions. Martin further admitted to at least two

incidents where she had mouth to vagina contact with V3 at Seaway’s request. She did not discuss

whether pictures were taken.

       Forensic examination of the media seized from the defendant’s residence shows that

Seaway maintained an organized collection of child pornography, including produced images of

V1, V2, and V3, as well as produced images of V4 (a female child born in 2004), and V5 (a female

child born in 2002). Seaway’s organizational structure included folders with names representing

dates and victims. He also kept several backups and copies on multiple pieces of media, including

each item listed in the forfeiture allegation (except for the cameras, which were used to produce



3
       Seaway’s allegation that “[a]ll of the evidence in the case against Mr. Seaway” stems from
Inv. Eckler’s warrant is accordingly incorrect. Relevant and incriminating evidence, which
Seaway lacks standing to challenge, was also located on items obtained from Lamere’s residence.
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the images, not to store them). In all, forensic examination found a collection of several thousand

images of child pornography produced by Seaway, sometimes with Martin, and sometimes with

Lamere, on approximately 471 separate dates, from approximately May 29, 2001, to

approximately April 16, 2014. Seaway also maintained an extremely large collection (tens of

thousands of images) of internet child pornography, including images of infants and toddlers. The

defendant’s possession of this child pornography is not charged in either of the instant indictments.

II.    Argument

       A.      Evidence Obtained from the Search Warrant Issued for Seaway’s Residence
               Should Not Be Suppressed4

               1.      The Warrant is Supported by Sufficient Probable Cause5

       Probable cause is “a fluid concept – turning on the assessment of probabilities in particular

factual contexts – not readily, or even usefully, reduced to a neat set of legal rules.” Illinois v.

Gates, 462 U.S. 213, 232 (1983), quoted in United States v. Smith, 9 F.3d 1007, 1012 (2d Cir.

1993). Probable cause exists if, given all of the circumstances set forth in the affidavit, “there is a

fair probability that contraband or evidence of a crime will be found in a particular place,” United

States v. Grubbs, 547 U.S. 90, 95 (2006) (quoting Gates, 462 U.S. at 238-39), and requires only a

“probability or substantial chance of criminal activity.” United States v. Bakhtiari, 913 F.2d 1053,

1062 (2d Cir. 1990); United States v. Salameh, 152 F.3d 88, 112-13 (2d Cir. 1998). Moreover,

probable cause determinations by judges are to be paid great deference, and any doubts should be



4
        As indicated in the Summary of Facts, above, evidence of Seaway’s crimes was also
discovered on electronic media seized, from the home of Tammy Lamere, with her consent.
Seaway does not have standing to challenge that seizure, or the later search (with a warrant) of
those items.

5
       The defendant does not challenge the particularity of the warrant itself, only the probable
cause set forth in the application and affidavit in support of the warrant.

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resolved in favor of upholding the warrant. Gates, 462 U.S. at 236; Smith, 9 F.3d at 1012. The

reviewing court should ensure only that the issuing judge had a “substantial basis” for the probable

cause determination. Gates, 462 U.S. at 236.

        Here, the defendant’s challenge to the search warrant’s probable cause is limited to one

issue only – the reliability of the informant. Importantly, the defendant does not allege that, if

believed, the information provided by William Raymond was insufficient to establish that child

pornography would be found at Seaway’s residence. The defendant challenges the warrant solely

on what he characterizes as a failure to corroborate Raymond’s statements. Defendant’s Motion,

pp. 3 - 4.

        The Application for the search warrant of the defendant’s residence consisted of the sworn

affidavit of NYSP Michael Eckler (Defendant’s Exhibit C) together with the supporting deposition

of William Raymond (Defendant’s Exhibit D), which was incorporated by reference and attached

to Inv. Eckler’s Affidavit. See Defendant’s Exhibit C, p. 7 (incorporating Raymond’s affidavit,

and indicating its attachment).

        In addition to Raymond’s affidavit, the Application contained information from Inv. Eckler

detailing, among other things, Inv. Eckler’s training and experience, the interplay between child

pornography and the internet, including the storage capabilities of electronic media.6 Inv. Eckler

also corroborated Raymond’s statement regarding the location of Seaway’s residence. While

redacted in the filed exhibit, Inv. Eckler’s affidavit confirms that the address on file for Seaway at




6
        While Inv. Eckler’s affidavit also includes other information about Seaway, including a
2009 arrest for Endangering the Welfare of a Child - for which no further information could be
found, and information that he was a suspect in a closed 2005 sexual abuse investigation involving
an 8 year old child, Defendant’s Exhibit C, p. 7, the Government is not requesting that this Court
use that information in reviewing the probable cause finding. See United States v. Falso, 544 F.3d
100, 121 - 124 (2d Cir. 2008), cert. denied 558 U.S. 933 (2009).
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the Department of Motor Vehicles is the same as the address provided by Raymond as the location

where he observed Seaway in possession of child pornography. Defendant’s Exhibit C, p. 7;

Defendant’s Exhibit D, p. 1.

       Raymond provided his information in a face-to-face interview with NYSP Inv. Benjamin

Miller at the Onondaga County Justice Center, a factor in favor of its veracity. United States v.

Salazar, 945 F.2d 47, 50 – 51 (2d Cir. 1991) (“a face-to-face informant must, as a general matter,

be thought more reliable than an anonymous telephone tipster, for the former runs the greater risk

that he may be held accountable if his information proves false.”) Raymond then provided and

signed a written affidavit under penalty of perjury, with a written warning that false statements are

punishable as a crime in the state of New York, another factor in favor of his statement’s reliability.

United States v. Hernandez, 85 F.3d 1023, 1028 (2d Cir. 1996) (finding an informant’s allegations

“significantly more reliable” when given “under threat of the criminal sanction for perjury.”)

       Raymond revealed that Seaway is his uncle, a fact not in dispute, and a factor that law

enforcement, and the issuing judge, could reasonably rely on in favor of Raymond’s basis of

knowledge of the facts he related. Even more compelling, however, is the amount of detail in

Raymond’s statement. Id. (“[a] detailed eye-witness report of a crime is self-corroborating; it

supplies its own indicia of reliability”), quoting United States v. Elliott, 893 F.2d 220, 223 (9th

Cir.), modified, 904 F.2d 25 (9th Cir. 1990); see also United States v. Monk, 499 F. Supp.2d 268,

271-72 (E.D.N.Y. 2007). Here, Raymond describes specific dates when he lived with Seaway,

and demonstrates first-hand knowledge of the defendant, his residence, the items located at the

premises. Raymond specified that he worked on computers with Seaway, detailed specific

conversations he had with Seaway about sexually explicit images of children (e.g. “After I showed

him some pictures of girls, he said he had some pictures. His exact words were “Give me an



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age?”), and described with particularity a number of specific files Seaway had shown him

depicting minors engaged in sexually explicit conduct. Raymond also specified the type of media

on which Seaway kept some of these files, and their location on that media: “He has a folder on

one of his hard drives that he plugs into his main computer tower. This hard drive is in a bronze

or gold outer cover. He keeps this folder with his pictures as a hidden folder.” Defendant’s Exhibit

D, p. 1. Raymond also particularly described that Seaway had an old school bus, painted light

blue, on his property that was used for storage. Id. The probable cause to issue the warrant also

included Inv. Eckler’s statements regarding “Child Pornography and the Internet,” and his

descriptions of how child pornography, and related evidence, is stored on electronic media, can be

maintained thereon indefinitely, and can be extracted by forensic means. Defendant’s Exhibit C,

pp. 4 – 5.

       A “totality of the circumstances” analysis supports a finding that sufficient probable cause

existed, and that the issuing judge reasonably credited Raymond’s statement in authorizing the

warrant. “Even if we entertain some doubt as to an informant’s motives,7 his explicit and detailed

description of alleged wrongdoing, along with a statement that the event was observed first-hand,

entitles his tip to greater weight than might otherwise be the case.” Gates, 462 U.S. at 234. An

informant’s “‘veracity,’ ‘reliability’ and ‘basis of knowledge,’” are not to be “rigidly exacted in

every case,” but instead “understood simply as closely intertwined issues that may usefully




7
        The defendant argues that Raymond’s veracity is tainted by his status as an inmate.
Defendant’s Motion, p. 3, but the case upon which he relies does not hold that Raymond is
therefore unreliable. Instead, it simply acknowledges that “criminal informants” are less reliable
than innocent bystanders. United States v. Gagnon, 373 F.3d 230, 236 (2d Cir. 2004). Gagnon
also holds, consistent with the Government’s arguments herein, that a face-to-face informant (such
as Raymond) is more reliable than an anonymous tipster. Id. Again, favoring the finding of
probable cause under the requisite totality-of-the-circumstances analysis.
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illuminate the commonsense, practical question whether there is ‘probable cause’ to believe that

contraband or evidence is located in a particular place.” Id. at 230.

       As Judge Todd reasonably credited Raymond’s statement in making his probable cause

assessment, and as the totality of the circumstances supported that finding, the warrant was

properly authorized, and, the evidence seized as a result should not be suppressed.

               2.      Law Enforcement Executed the Warrant in Good Faith

       Even if Judge Todd relied on Raymond’s affidavit in error, which he did not, law

enforcement nevertheless relied in good faith on the warrant he issued, and suppression is not

warranted under the good faith exception.

       The good faith exception permits the introduction of evidence despite deficiencies in a

probable cause showing, so long as the agents executing the warrant acted reasonably and in good

faith. In United States v. Leon, 468 U.S. 897 (1984), the Supreme Court held that evidence obtained

pursuant to a facially valid search warrant, later found to be invalid, was admissible if the executing

officers acted in good faith and in objectively reasonable reliance on the warrant. The Supreme

Court held that the exclusionary rule “cannot be expected, and should not be applied, to deter

objectively reasonable law enforcement activity.” Id. at 899.

       The exclusionary rule is a judicially created remedy that, “when applicable, forbids the use

of improperly obtained evidence at trial.” Herring v. United States, 555 U.S. 135, 139 (2009). The

Supreme Court has “repeatedly rejected the argument that exclusion is a necessary consequence

of a Fourth Amendment violation.” Id. at 141. To trigger the exclusionary rule, police conduct

must be sufficiently deliberate that exclusion can meaningfully deter it, and sufficiently culpable

that such deterrence is worth the price paid by the justice system, accordingly, it “applies only

where it “‘result[s] in appreciable deterrence,’” and where the benefits of deterrence outweigh the



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costs. Id. (quoting United States v. Leon) (internal citations omitted). Suppression of evidence

seized pursuant to a warrant thus remains an appropriate remedy only if: (1) the judge who issued

the warrant “was misled by information in an affidavit that the affiant knew was false or would

have known was false except for his reckless disregard for the truth”; (2) the issuing judge wholly

abandoned his judicial role; (3) the affidavit is so lacking in indicia of probable cause that reliance

on the warrant was unreasonable; or (4) the warrant was so facially deficient that law enforcement

officers cannot reasonably presume it to be valid. Leon, 468 U.S. at 923; see United States v.

Singh, 390 F.3d 168, 181 (2d Cir. 2004).

       Here, the judge was not misled, there was no false information in either the affidavit of Inv.

Eckler, or the attached affidavit of William Raymond, there is no evidence, or even any allegation,

that the judge abandoned his judicial role and the warrant is not so facially deficient that law

enforcement’s reliance on it was unreasonable. See United States v. Falso, 544 F.3d 110, 128 (2d

Cir. 2008) (“Once the district court ruled on the legal sufficiency of the facts alleged in the

affidavit, the officers were justified in executing the warrant.”) citing United States v. Cancelmo,

64 F.3d 804, 809 (2d Cir. 1995) (“[W]e decline to hold that the agents acted unreasonably in

accepting the magistrate judge's legal conclusion that probable cause existed.”). Accordingly, even

if probable cause were lacking, which, again, it is not, suppression is not an appropriate remedy.

       B. The Defendant’s Statements

       Seaway seeks to suppress the statements he made to NYSP Inv. Benjamin Miller and HSI

SA Lon Ziankoski. The sole ground he raises is voluntariness, and then only in regard to his

physical condition. He does not allege any infirmities with the advisement of his Miranda

warnings, nor with his waiver of those rights. Moreover, he does not make out any coercion,

duress, or other form of misconduct by law enforcement.



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       A defendant’s confession is admissible so long as the defendant knowingly and voluntarily

waived his Fifth Amendment rights after having been advised of them pursuant to Miranda. The

Government must prove, by a preponderance of the evidence and under the totality of the

circumstances, that a defendant voluntarily relinquished his rights, and did so with an awareness

of his rights and the consequences thereof. Moran v. Burbine, 475 U.S. 412, 421 (1986); Colorado

v. Connelly, 479 U.S. at 168.       Here, the recording of the defendant’s interview with law

enforcement confirms that he was advised of his rights, indicated that he understood those rights,

and waived them. (Exhibit 1, time marker 09:50). He also reviewed, initialed, and signed a written

version of those rights at the time the written statement was taken from him. See Exhibit 1, time

marker 16:51; and Defendant’s Exhibit E (the signed Miranda waiver page of his written

statement.); see also United States v. Washington, 431 U.S. 181, 188 (1977) (“it seems self-evident

that one who is told he is free to refuse to answer questions is in a curious posture to later complain

that his answers were compelled.”)

       As the defendant was so clearly advised of, understood, and waived his rights, his

suppression motion is based upon a conclusory allegation that the statements were nevertheless

involuntary, because, he claims, “he [wa]s visibly and audibly hacking, coughing, and weakened.”

Defendant’s Motion, p. 6. This is a mischaracterization of the defendant’s condition. The

videotaped interview (a review of the video shows that the word “interrogation” is hardly accurate)

speaks for itself. While the defendant occasionally coughs, he never appears “weakened” or

otherwise in distress. The conversation cannot be characterized in any way other than cooperative

and collegial – and completely voluntary. There is simply no view of the evidence that the

defendant’s statements were the product of unlawful police conduct.




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         Moreover, as a part of his interview, Seaway assisted Inv. Miller in preparing a summary

of his statements in a written affidavit.    When Inv. Miller completed typing a draft, Seaway

requested that the statement be read to him. Exhibit 1, time marker 16:22. Inv. Miller then read

the entire draft to him from the computer on which it had been prepared, while the defendant

appears to listen intently, acknowledging the accuracy of the statements. After reading the

statement to the defendant, Inv. Miller asked him if it was accurate, and whether there was anything

that needed to be changed. The defendant stated that the statement was accurate, and there was

nothing to change. Exhibit 1, time marker 16:23 – 16:34. Inv. Miller then printed out the statement

and presented it to the defendant for signature. In doing so, the defendant asked whether he had

to sign it, and Inv. Miller told him that he did not have to sign it. The defendant agreed to sign the

statement. He was advised that the first page included the rights that Inv. Miller had read to him,

and was asked to initial each. The defendant agreed, and signed. Exhibit 1, time marker 16:46 –

16:51.

         With the benefit of a videotape of the entire interview (Government Exhibit 1), the Court

can review the challenged interview itself, as it actually happened - neither colored by a party’s

characterization of the defendant’s physical condition, nor dependent upon any witness’ testimony

about what happened a year ago. As such, no hearing is necessary, and a review of the videotape,

the best evidence, proves that suppression is unwarranted.

III.     Government’s Cross-Motion for Discovery

         Pursuant to Rule 16(b) (1), the United States respectfully moves this Court for an order

directing the defendant to:

         (A) Permit the United States to inspect and copy or photograph books, papers, documents,

photographs, tangible objects, or copies of portions thereof, which are within the possession,



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custody, or control of the defendant, which the defendant intends to introduce as evidence in chief

at the trial; and

        (B) Permit the United States to inspect and copy or photograph any results or reports of

physical or mental examinations and of scientific tests or experiments made in connection with the

particular case, or copies thereof, within the possession or control of the defendant, which the

defendant intends to introduce as evidence in chief at the trial or which were prepared by a witness

whom the defendant intends to call at the trial when the results or reports relate to that witness'

testimony.

        (C)     Order the defendant to disclose to the government a written summary of testimony

the defendant intends to use under Rules 702, 703 and 705 of the Federal Rules of Evidence as

evidence at trial. This summary must describe the opinions of the witnesses, the bases and reasons

therefore, and the witnesses’ qualifications.

IV.     Conclusion

        For all of the reasons set forth above, the defendant’s motions to suppress his statements

and the evidence derived from the search warrant issued by Hon. Donald E. Todd should be denied

without need for an evidentiary hearing. Additionally, the Court should grant the Government’s

cross motion for discovery.

Dated: March 24, 2017
                                                Richard S. Hartunian
                                                United States Attorney

                                                /s/Lisa M. Fletcher
                                      By:       Lisa M. Fletcher
                                                Assistant U.S. Attorney
                                                Bar Roll No. 510187




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                        UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK


****************************************
UNITED STATES OF AMERICA,                            Criminal Action No.
                                                     5:16-CR-339 (NAM) and
      v.                                             5:16-CR-340 (NAM)

CLIF J. SEAWAY,

                  Defendant.
****************************************


                              CERTIFICATE OF SERVICE

      I hereby certify that on March 24, 2017, I electronically filed the GOVERNMENT’S

RESPONSE TO DEFENDANT’S OMNIBUS MOTIONS with the Clerk of the District Court

using the CM/ECF system.

             Randi Bianco, Esq.




                                              /s/

                                              Paula Briggs




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                                        EXHIBIT 1
                     of the [28] Response to the [27] Motion to Suppress



SEALED DOCUMENT (Exhibit 1) - maintained in Clerk's Office and not available for
electronic viewing FILE UNDER SEAL pursuant to the [29] Order filed on 3/24/2017.




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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    KKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKK


    UNITED STATES OF AMERICA

                            -v-                                            5:16-CR-339 (NAM)

    CLIF J. SEAWAY and TAMMY M. MARTIN,

                                            Defendants.
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    Syracuse, New York 13202
    Attorney for Defendant Tammy M. Martin

    Hon. Norman A. Mordue, Senior U.S. District Judge:
M




                               MEMORANDUM-DECISION AND ORDER

                                              INTRODUCTION

            On November 17, 2016, a grand jury indicted Defendants for one count of Conspiracy to

    Sexually Exploit a Child, 18 U.S.C. § 2251(a),(e), and six counts of Sexual Exploitation of a

    Child, 18 U.S.C. § 2251(a), charging that on six occasions between 2002 and 2009, Defendants

    used minors to engage in sexually explicit conduct for the purpose of producing visual depictions

    of such conduct (Dkt. No. 17). Presently before the Court is the motion (Dkt. No. 27) by




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    Defendant Clif J. Seaway (“Seaway”) to suppress physical evidence and statements. As

    explained below, the motion is denied.

                                             BACKGROUND

           In September 2015, William Raymond (“Raymond”), Seaway’s nephew, was arrested for

    statutory rape of a 13 year old girl. While incarcerated, Raymond indicated that he had

    information about Seaway. On January 14, 2016, Raymond gave a written statement, sworn

    under penalty of perjury, to New York State Police Investigator Benjamin Miller, stating that
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    during August and September, 2015, he lived with Seaway and that together they worked on

    computers for other people. Raymond’s statement continues:

                  After I showed him some pictures of girls, he said that he has some pictures.
                  His exact words were “Give me an age?” I told him that I didn’t care that I
                  liked it all, not realizing what he had on his computer. Clif then showed me
                  pictures of naked female kids that were under 10 years old. I know they were
                  less than 10 years old because I have 7 kids between the ages of 5 and 16.
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                  The pictures of the kids were nude and posing in sexual ways.

    The statement continues with specific descriptions of images and videos. Raymond specified the

    type of media on which Seaway kept some of the files and their location on that media.

           On February 18, 2016, New York State Police obtained a search warrant for Seaway’s

    residence and computers, issued by Oswego County Court Judge Donald E. Todd. The
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    application included the affidavit of New York State Police Investigator Michael Eckler and

    incorporated by reference Raymond’s statement, which was attached.

           New York State Police executed the search warrant on February 24, 2016. On the same

    date, police interviewed Seaway. During the interview, which was videotaped, Seaway admitted

    engaging in numerous acts of sexual abuse with minor children. As part of the interview, he

    signed a written statement that included a voluntary waiver of his Miranda rights. Seaway now

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    moves to suppress the evidence seized in the search as well as his videotaped and written

    statements.

                                          SEARCH WARRANT

           The Fourth Amendment provides that “no Warrants shall issue, but upon probable cause,

    supported by Oath or affirmation, and particularly describing the place to be searched, and the

    persons or things to be seized.” U.S. Const. amend. IV. Because “probable cause is a fluid

    concept – turning on the assessment of probabilities in particular factual contexts – not readily, or
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    even usefully, reduced to a neat set of legal rules,” courts analyze the totality of the circumstances

    in evaluating whether a warrant is supported by probable cause. Illinois v. Gates, 462 U.S. 213,

    230-32 (1983). Where a warrant application is supported by an affidavit, “[t]he task of the

    issuing magistrate is simply to make a practical, common-sense decision whether, given all the

    circumstances set forth in the affidavit before him, including the ‘veracity’ and ‘basis of
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    knowledge’ of persons supplying hearsay information, there is a fair probability that contraband

    or evidence of a crime will be found in a particular place.” Id. at 238. “[W]here [the]

    circumstances are detailed, where reason for crediting the source of the information is given, and

    when a [judge] has found probable cause, the courts should not invalidate the warrant by

    interpreting the affidavit in a hypertechnical, rather than a commonsense, manner.” United States
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    v. Ventresca, 380 U.S. 102, 109 (1965) (quoted in Rivera v. United States, 928 F.2d 592, 602 (2d

    Cir. 1991)). When reviewing a challenged warrant, a court accords “considerable deference to

    the probable cause determination of the issuing [judge].” United States v. Thomas, 788 F.3d 345,

    350 (2d Cir. 2015). Thus, “the task of a reviewing court is simply to ensure that the totality of the

    circumstances afforded the [judge] ‘a substantial basis’ for making the requisite probable cause


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     determination.” Id. (quoting Gates, 462 U.S. at 238).

                In urging suppression of the evidence seized pursuant to the search warrant, Seaway

     argues that the warrant was not supported by probable cause. He contends that the face of the

     application showed that Raymond was unreliable and that no effort had been made to corroborate

     the information he provided. Defendant points to the Second Circuit’s statement in United States

     v. Gagnon that, where the information needed to supply probable cause comes from an informant,

     the court must consider the totality of the circumstances, including, but not limited to, “an
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     informant’s veracity, reliability and basis of knowledge, and the extent to which an informant’s

     statements – even statements about a suspect’s innocent activities – are independently

     corroborated.” 373 F.3d 230, 236 (2d Cir. 2004). Defendant argues:

                       Here, all of the information needed to supply probable cause for the warrant
                       for the search of Mr. Seaway’s home came from Raymond. Nothing in the
                       warrant application, however, provided the issuing magistrate with any reason
A




                       to trust Raymond’s veracity or reliability. Indeed, the face of the warrant
                       application showed that Raymond’s word should not be trusted. At the time
                       he gave his statement about Mr. Seaway, Raymond was in jail on very serious
                       charges. His very presence in jail facing charges lessens the reliability of his
                       statement because, as the Second Circuit has noted, an informer who is a
                       criminal is less reliable than an innocent bystander with no apparent motive
                       to falsify. In addition, Raymond, by his own admission, had saved pictures of
                       ex-girlfriends on Mr. Seaway’s computer. He had every motive in the world
                       to try to place blame for any images discovered on that computer on someone
                       else.
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                       Further, nothing in the warrant application indicates that any effort at all was
                       made to independently corroborate Raymond’s statements.

     (Case citation and citation to record omitted.) The Court finds no factual issues requiring a

     hearing.1


            1
              Seaway does not submit an affidavit in support of the motion and does not request a hearing on
    the search warrant issue.

                                                         -4-




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                The fact that Raymond was in jail for a serious crime undermines his veracity to some

     degree. In addition, it appears that, except for confirming Seaway’s address, police did not

     attempt to corroborate Raymond’s information. Nevertheless, interpreting Raymond’s

     declaration in a commonsense manner, the Court finds that under the totality of the

     circumstances, County Court Judge Todd had a substantial basis for concluding that probable

     cause existed. See Gates, 462 U.S. at 236. In his face-to-face interview with Investigator Miller,

     Raymond explained that he was Seaway’s nephew. He gave the police Defendant’s address,
N




     which the police confirmed. He explained why he was at Seaway’s home at the time of the

     incident and gave Investigator Miller a first-hand, detailed description of the conversation that led

     Seaway to show Raymond the photographs and videos. Raymond gave explicit details about the

     photographs and videos and explained that he knew the children were under 10 years old because

     he had children himself. Raymond’s first-hand observation of the photographs and videos and his
A




     detailed descriptions of them, as well as his detailed and plausible description of the surrounding

     circumstances, establish the basis of his knowledge and are strong indicia of the reliability of his

     statement. In addition, Raymond’s description of the manner in which Seaway stored the files is

     consistent with the affidavit of Investigator Eckler and provides additional indicia of reliability.

     The search warrant was supported by probable cause, and the evidence seized is admissible.
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                Although it is not necessary to reach the issue, the Court holds that the agents executing

     the warrant acted reasonably and in good faith and in objectively reasonable reliance on the

     warrant.2 See United States v. Leon, 468 U.S. 897 (1984). Raymond’s motion insofar as it

            2
             Evidence obtained pursuant to a warrant should be excluded in any of the following
    circumstances: “(1) where the issuing magistrate has been knowingly misled; (2) where the issuing
    magistrate wholly abandoned his or her judicial role; (3) where the application is so lacking in indicia of
    probable cause as to render reliance upon it unreasonable; [or] (4) where the warrant is so facially

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     challenges the issuance of the warrant is denied.

                         SEAWAY’S VERBAL AND WRITTEN STATEMENTS

             On the day police executed the search warrant, Seaway was interviewed at New York

     State Police barracks by Investigator Miller and Homeland Security Special Agent Lon

     Ziankoski. The Government explains that “[f]orensic previews conducted while the warrant was

     being executed located digital files of produced child pornography involving Seaway and

     co-defendants Tammy Martin and Tammy Lamere. Some of the recovered images were shown to
N




     Seaway during a Mirandized and recorded interview, conducted contemporaneously with the

     search.” The entire interview was videotaped and has been submitted to the Court.

             Seaway’s only challenge to the interview is the following, in the memorandum of law

     submitted by counsel: “Here, the interrogation of Mr. Seaway lasted for up to eight hours. In the

     video of the interrogation, he is visibly and audibly hacking, coughing, and weakened. Therefore,
A




     Mr. Seaway requests a hearing on the voluntariness of his confession.”

             In Miranda v. Arizona, the Supreme Court held:

                     Prior to any questioning, the person must be warned that he has a right to
                     remain silent, that any statement he does make may be used as evidence
                     against him, and that he has a right to the presence of an attorney, either
                     retained or appointed. The defendant may waive effectuation of these rights,
                     provided the waiver is made voluntarily, knowingly and intelligently. If,
M




                     however, he indicates in any manner and at any stage of the process that he
                     wishes to consult with an attorney before speaking there can be no
                     questioning. Likewise, if the individual is alone and indicates in any manner
                     that he does not wish to be interrogated, the police may not question him.

     384 U.S. 436, 444-45 (1966). The Defendant may waive such rights, provided the waiver is made




    deficient that reliance upon it is unreasonable.” United States v. Moore, 968 F.2d 216, 222 (2d Cir.
    1992).

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    voluntarily, knowingly and intelligently. Moran v. Burbine, 475 U.S. 412, 421. As the Moran

    court explains:

                      The inquiry has two distinct dimensions. First, the relinquishment of the right
                      must have been voluntary in the sense that it was the product of a free and
                      deliberate choice rather than intimidation, coercion, or deception. Second, the
                      waiver must have been made with a full awareness of both the nature of the
                      right being abandoned and the consequences of the decision to abandon it.
                      Only if the “totality of the circumstances surrounding the interrogation” reveal
                      both an uncoerced choice and the requisite level of comprehension may a
                      court properly conclude that the Miranda rights have been waived.
N




    Id. (citations omitted).

            The Court has watched the entire video of Seaway’s interview. The video demonstrates

    conclusively that Seaway was given the proper Miranda warnings and that he waived them, both

    verbally and in writing, voluntarily, knowingly, and intelligently. The totality of the

    circumstances demonstrates that the waiver was the product of a free and deliberate choice rather
A




    than intimidation, coercion, or deception and that it was made with the requisite level of

    comprehension. Indeed, he does not claim otherwise.

            Further, the video demonstrates that Seaway gave his verbal and written confessions

    voluntarily. In determining the voluntariness of a confession, this Court evaluates the totality of

    the circumstances, including “1) the accused’s characteristics, 2) the conditions of the
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    interrogation, and 3) the conduct of the police.” Parsad v. Greiner, 337 F.3d 175, 183 (2d Cir.

    2003). Seaway himself submits no affidavit supporting counsel’s assertion that the confession

    was involuntary because he was “hacking, coughing, and weakened.” Nothing in the video would

    support such an assertion. Although Seaway occasionally experienced a hacking cough, certainly

    a man with a bad cough can give a voluntary confession. As for being “weakened,” the video

    demonstrates that Seaway spoke freely and willingly to Investigator Miller and Special Agent

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    Ziankoski, occasionally joked and laughed, and took bathroom breaks. He exhibited no

    confusion, incoherence, or reticence. He was given drinks and food, did not request more food or

    other consideration, and expressed no discomfort, exhaustion, or weakness. At the end of the

    interview he willingly gave a written waiver and confession. He does not now claim that he

    requested counsel, nor does he claim coercion, duress, or other misconduct by law enforcement;

    in any event, such a claim would be defeated by the plain evidence of the video. There is nothing

    in the video to indicate that Seaway’s verbal and written statements were not voluntary in all
N




    respects. There is no basis for an evidentiary hearing and no basis to suppress Seaway’s

    statements. The motion is denied.

                                        EXCLUSION OF TIME

           Upon stipulation of the parties, the Court previously excluded certain periods of time,

    including the period from December 16, 2016 to and including March 15, 2017 (Dkt. No. 26).
A




    The speedy trial clock remained stopped until Seaway’s motion (Dkt. No. 27) was ready for

    decision upon the Government’s filing of its opposition on March 24, 2017 is excluded under 18

    U.S.C. § 3161(h)(1)(D). The 30-day period from March 24, 2017, when the motion was ready for

    decision, until April 23, 2017, is excluded automatically under 18 U.S.C. § 3161(h)(1)(H). The

    motions have been under advisement before the Court from April 23, 2017 until the date of this
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    decision. The Northern District of New York is a congested court, and numerous other matters

    have required this Court's attention during this time period. In view of the extremely serious

    nature of the charges, the important and complex legal issues raised in the pending motion, and

    the need to review and analyze the lengthy video, the motion required considerable research and

    careful consideration by the Court. Accordingly, considering all relevant factors, and having due


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    regard to the public’s interest in a speedy trial as well as Defendants’ interests in prompt

    disposition of the charges against them, the Court finds that a speedy trial exclusion in the

    interests of justice is warranted in order to provide Defendant with thorough consideration of this

    motion. Therefore, the Court is constrained to exclude from the speedy trial clock the time from

    April 23, 2017 to the date of this decision pursuant to 18 U.S.C. § 3161(h)(7). The time from

    March 15, 2017 to and including June 22, 2017 is thus excluded from the speedy trial clock for

    both Defendants.
N




                                              CONCLUSION

            It is therefore

            ORDERED that the motion to suppress (Dkt. No. 27) by Defendant Clif J. Seaway is

    denied; and it is further

            ORDERED that the period from March 15, 2017 until the date of the decision herein on
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    June 22, 2017 is excluded in computing time under the Speedy Trial Act in the interests of justice.

            IT IS SO ORDERED.

            Date: June 22, 2017
                  Syracuse, New York
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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK
    KKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKK


    UNITED STATES OF AMERICA

                            -v-                                            5:16-CR-339 (NAM)

    CLIF J. SEAWAY and TAMMY M. MARTIN,

                                            Defendants.
    KKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKK


    UNITED STATES OF AMERICA
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                            -v-                                            5:16-CR-340 (NAM)

    CLIF J. SEAWAY and TAMMY J. LAMERE,

                                            Defendants.
    KKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKKK


    APPEARANCES:
A




    United States Attorney, Northern District of New York
    Lisa M. Fletcher, Esq., Assistant United States Attorney
    100 South Clinton Street
    Syracuse, New York 13261

    Office of the Federal Public Defender, Northern District of New York
    Courtenay K. McKeon, Esq., Assistant Federal Public Defender
    Randi Juda Bianco, Esq., Assistant Federal Public Defender
    4 Clinton Square, 3rd Floor
    Syracuse, New York 13202
    Attorneys for Defendant Clif J. Seaway
M




    Law Office of H. Dana Vanhee PLLC
    H. Dana VanHee, Esq., of counsel
    120 East Washington Street, Suite 721
    Syracuse, New York 13202
    Attorney for Defendant Tammy M. Martin

    Office of Robert G. Wells
    Robert G. Wells, Esq., of counsel
    120 East Washington Street
    825 University Building
    Syracuse, New York 13202
    Attorney for Defendant Tammy J. Lamere
    Hon. Norman A. Mordue, Senior U.S. District Judge:



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                             MEMORANDUM-DECISION AND ORDER

           The Government moves to sever defendant Clif Seaway from codefendant Tammy

    Lamere in United States v. Seaway and Lamere (5:16-CR-340, Dkt. No. 41). It further moves to

    consolidate for trial the offenses charged against Seaway in that case and in United States v.

    Seaway and Martin (5:16-CR-339, Dkt. No. 42). Tammy Martin, Seaway’s codefendant in case

    5:16-CR-339, entered a guilty plea, and her sentencing is scheduled for January 8, 2018. As

    explained briefly below, the motions are granted.
N




           The Court ordered a psychiatric examination of defendant Tammy Lamere (5:16-CR-340,

    Dkt. No. 40). Lamere’s counsel makes no objection to the motion to sever the charges against

    Lamere from those against Seaway. Seaway’s counsel informed the Court: “After reviewing the

    government’s motion to consolidate the above indictments and to sever codefendant Tammy

    LeMere from Mr. Seaway’s trial, the defense offers no objections.” (5:16-CR-339, Dkt. No. 43.)
A




    Accordingly, severance is granted.

           With respect to consolidation, the Court notes that the crimes charged against Seaway in

    the two indictments are of the same or similar character and were committed as part of a common

    scheme or plan; therefore, they could have been joined in a single indictment. See Fed. R. Crim.

    P. 8(a); 13. In deciding whether to order joinder of indictments for trial, a court must balance the
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    “promotion of the economical and efficient administration of criminal justice by the avoidance of

    needless multiple trials and the protection of criminal defendants from the unfair prejudice that

    may be caused by the joining of indictments.” United States v. Halper, 590 F.2d 422, 428 (2d

    Cir. 1978). “Unfair prejudice” means “a serious risk that a joint trial would compromise a

    specific trial right … or prevent the jury from making a reliable judgment about guilt or

    innocence.” United States v. Rittweger, 524 F.3d 171, 179 (2d Cir. 2008). On the question of

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     prejudice, it is significant that, if the cases against Seaway were tried separately, evidence of the

     crimes charged in indictment 5:16-CR-339 would be admissible at the trial on indictment

     5:16-CR-340, and vice versa, because evidence of prior convictions or acts of child molestation

     are typically admissible to prove propensity in prosecutions such as these.1 See Fed. R. Evid.

     414(a). “The presumption is that [such] evidence ... is typically relevant and probative, and that

     its probative value is not outweighed by any risk of prejudice.” United States v. Larson, 112 F.3d

     600, 604 (2d Cir. 1997); accord United States v. Levy, 594 F.Supp.2d 427, 440 (S.D.N.Y. 2009),
N




     aff’d 385 F.App’x 20 (2d Cir. 2010). Thus, while such evidence may be “highly prejudicial,” it is

     admissible unless it is “unfairly prejudicial.” United States v. Davis, 624 F.3d 508, 512 (2d Cir.

     2010). Seaway does not argue that admission of such evidence in these cases would be unfairly

     prejudicial, nor does the Court find unfair prejudice on this or any other ground. Balancing the

     relevant factors, the Court finds that the charges against Seaway in these two prosecutions may be
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     consolidated “without interfer[ing] with substantial justice.” Halper, 590 F.2d at 428.

     Accordingly, the Court in its discretion grants consolidation.

                It is therefore

                ORDERED that the Government’s motion in United States v. Seaway and Martin (5:16-

     CR-339, Dkt. No. 42) is granted and the charges against Seaway are consolidated for trial with
M




     those against him in United States v. Seaway and Lamere (5:16-CR-340); and it is further

                ORDERED that the Government’s motion in United States v. Seaway and Lamere

     (5:16-CR-340, Dkt. No. 41) is granted; the charges against Clif Seaway are severed from those

     against codefendant Tammy Lamere; and the charges against Seaway are consolidated for trial


            1
             An “offense of child molestation” includes, inter alia, sexual exploitation of a minor, 18 U.S.C.
    § 2251(a); see Fed.R.Evid. 414(d).

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    with those against him in United States v. Seaway and Martin (5:16-CR-339); and it is further

           ORDERED that case 5:16-CR-0339 is now designated as the lead case as to Defendant

    Clif Seaway for trial purposes. ALL FUTURE FILINGS as to Defendant Seaway including

    ALL PRETRIAL DOCUMENTS MUST BE FILED ONLY IN THE LEAD CASE, 5:16-

    CR-339. NO FURTHER FILINGS SHALL BE DOCKETED IN THE MEMBER CASE as

    to Defendant Seaway ONLY, 5:16-CR-340, and it is further

           ORDERED that the Clerk is directed to docket this Memorandum-Decision and Order in
N




    both United States v. Seaway and Martin (5:16-CR-339) and United States v. Seaway and Lamere

    (5:16-CR-340); and it is further

           ORDERED that the Court grants the joint request of the Government and Seaway’s

    defense attorney (Dkt. No. 44) to send a questionnaire, which has been approved by both parties,

    to the prospective jurors in advance of trial.
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           IT IS SO ORDERED.

           Date: September 20, 2017
                 Syracuse, New York
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DEFENDANT:   Clif J. Seaway
CASE NUMBER: DNYN516CR000339-001 & DNYN516CR000340-001

                                UNITED STATES DISTRICT COURT
                                                    Northern District of New York

             UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE
                                  v.
                                                                                                             DNYN516CR000339-001
                                                                                      Case Number:           DNYN516CR000340-001
                      CLIF J. SEAWAY
                                                                                      USM Number:            24077-052

                                                                                      Randi Juda Bianco, Esq.
                                                                                      4 Clinton Square, Third Floor
                                                                                      Syracuse, NY 13202
                                                                                      315-701-0080
                                                                                      Defendant’s Attorney

THE DEFENDANT:
‫ ܆‬pleaded guilty to count(s)        of the on.
‫ ܆‬pleaded nolo contendere to count(s) which was accepted by the court.
‫ ܈‬was found guilty on Counts 1-7 (5:16-cr-339) and Counts 1-5 (5:16-cr-340) of the Indictments on December 14, 2017 after a plea of not
guilty.

The defendant is adjudicated guilty of these offenses under Indictment 16-CR-339-001:
Title & Section                                 Nature of Offense                                                    Offense Ended           Count
18 U.S.C. § 2251(a) and (e)                   Conspiracy to Sexually Exploit a Child                        2008                  1
18 U.S.C. § 2251(a) and (e)                   Sexual Exploitation of a Child                                2002                  2
18 U.S.C. § 2251(a) and (e)                   Sexual Exploitation of a Child                                2007                  3
18 U.S.C. § 2251(a) and (e)                   Sexual Exploitation of a Child                                2008                  4
18 U.S.C. § 2251(a) and (e)                   Sexual Exploitation of a Child                                2001                  5
18 U.S.C. § 2251(a) and (e)                   Sexual Exploitation of a Child                                2005                  6
18 U.S.C. § 2251(a) and (e)                   Sexual Exploitation of a Child                                2009                  7
         The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed in accordance with 18
U.S.C. § 3553 and the Sentencing Guidelines.

տ The defendant has been found not guilty on count(s)
տ Count(s)    տ is     ‫ ܆‬are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                       May 3, 2018
                                                                                       Date of Imposition of Judgment




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DEFENDANT:   Clif J. Seaway
CASE NUMBER: DNYN516CR000339-001 & DNYN516CR000340-001




                                                                            May 8, 2018
                                                                            Date




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DEFENDANT:   Clif J. Seaway
CASE NUMBER: DNYN516CR000339-001 & DNYN516CR000340-001


                                        ADDITIONAL COUNTS OF CONVICTION

The defendant is adjudicated guilty of these offenses under Indictment 16-CR-340-001:

Title & Section                               Nature of Offense                                    Offense Ended        Count
18 U.S.C. §§ 2251(a) and (e)                  Conspiracy to Sexually Exploit a Child               2013                 1
18 U.S.C. §§ 2251(a) and (e)                  Sexual Exploitation of a Child                       2013                 2
18 U.S.C. §§ 2251(a) and (e)                  Sexual Exploitation of a Child                       2011                 3
18 U.S.C. §§ 2251(a) and (e)                  Sexual Exploitation of a Child                       2013                 4
18 U.S.C. §§ 2251(a) and (e)                  Sexual Exploitation of a Child                       2014                 5




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DEFENDANT:   Clif J. Seaway
CASE NUMBER: DNYN516CR000339-001 & DNYN516CR000340-001

                                                          IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

             4,320 months (or 360 years). This term consists of 360 months on each count of conviction;
             all to run consecutively with each other.

    ‫ ܈‬The court makes the following recommendations to the Bureau of Prisons:
        As requested, the Court recommends the defendant be placed at FCC Tucson to serve his sentence.

    ‫ ܈‬The defendant is remanded to the custody of the United States Marshal.
    ‫ ܆‬The defendant shall surrender to the United States Marshal for this district:
        ‫ ܆‬at     ‫ ܆‬a.m. ‫ ܆‬p.m. on.
        ‫ ܆‬as notified by the United States Marshal.
    ‫ ܆‬The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        ‫ ܆‬before 2 p.m. on.
        ‫ ܆‬as notified by the United States Marshal.
        ‫ ܆‬as notified by the Probation or Pretrial Services Office.


                                                               RETURN

I have executed this judgment as follows:




        Defendant delivered on _________________________________________ to __________________________________________
at _________________________________________ with a certified copy of this judgment.


                                                                                 UNITED STATES MARSHAL




                                                                                 BY DEPUTY UNITED STATES MARSHAL




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DEFENDANT:   Clif J. Seaway
CASE NUMBER: DNYN516CR000339-001 & DNYN516CR000340-001


                                                       SUPERVISED RELEASE
The Court imposed a sentence with the understanding that you will not be released from prison. However, in the event that you are released,
you will be on supervised release for a term of:

                                                   Life on each count to run concurrently.

                                                    MANDATORY CONDITIONS
1.   You must not commit another federal, state, or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
              ‫ ܆‬The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future substance
              abuse. (check if applicable)
4.   ‫ ܆‬You must make restitution in accordance with 18 U.S.C. § § 3663 and 3663A or any other statute authorizing a sentence of
     restitution. (check if applicable)
5.   ‫ ܈‬You must cooperate in the collection of DNA as directed by the probation officer. (deselect if inapplicable)
6.   ‫ ܈‬You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C § 20901, et seq.) as directed
     by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you reside, work, are a
     student, or were convicted of a qualifying offense. (check if applicable)
7.   ‫ ܆‬You must participate in an approved program for domestic violence. (check if applicable)



If this judgment imposes a fine or restitution, it is a condition of supervised release that you pay in accordance with the Schedule of Payments
sheet of this judgment.


You must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the attached
page.




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                                        STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.   You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
     from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.

2.   After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when
     you must report to the probation officer, and you must report to the probation officer as instructed.

3.   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
     court or the probation officer.

4.   You must answer truthfully the questions asked by your probation officer.

5.   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
     arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
     probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
     becoming aware of a change or expected change.

6.   You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
     take any items prohibited by the conditions of your supervision that he or she observes in plain view.

7.   You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
     doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you
     from doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities),
     you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is
     not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or
     expected change.

8.   You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
     convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
     probation officer.

9.   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
    getting the permission of the court.

12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require
    you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and
    confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

14. You must provide the probation officer with access to any requested financial information.

15. You must submit your person, and any property, house, residence, vehicle, papers, effects, computer, electronic communications devices,
    and any data storage devices or media, to search at any time, with or without a warrant, by any federal probation officer, or any other law
    enforcement officer from whom the Probation Office has requested assistance, with reasonable suspicion concerning a violation of a
    condition of probation or supervised release or unlawful conduct by you. Any items seized may be removed to the Probation Office or to
    the office of their designee for a more thorough examination.



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                                         SPECIAL CONDITIONS OF SUPERVISION



                  No special conditions have been imposed due to the unlikeliness of the defendant’s release.




        DEFENDANT’S ACKNOWLEDGMENT OF APPLICABLE CONDITIONS OF SUPERVISION

Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.

The conditions of supervision have been read to me. I fully understand the conditions and have been provided a copy of them. For further
information regarding these conditions, see Overview of Probation and Supervised Release Conditions, available at: www.uscourts.gov.



                          Defendant                                                             Date




                          U.S. Probation Officer/Designated Witness                             Date




                                                                                                              A. 134
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        Sheet 5 – Criminal Monetary Penalties
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                                                 CRIMINAL MONETARY PENALTIES

    The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                               Assessment                   JVTA Assessment *           Fine                      Restitution
TOTALS                         $ 1,200                      Waived                      Waived                    N/A

‫ ܆‬The determination of restitution is deferred until. An Amended Judgment in a Criminal Case (AO 245C) will be entered after such
  determination.

‫ ܆‬The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                        Total Loss**                         Restitution Ordered                  Priority or Percentage
                                     $                                    $
Totals                               $                                    $

‫ ܆‬Restitution amount ordered pursuant to plea agreement $

‫ ܆‬The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
  fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject to
  penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

‫ ܆‬The court determined that the defendant does not have the ability to pay interest and it is ordered that:

    ‫ ܆‬the interest requirement is waived for the          ‫ ܆‬fine ‫ ܆‬restitution.

    ‫ ܆‬the interest requirement for the           ‫ ܆‬fine      ‫ ܆‬restitution is modified as follows:


*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.




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                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A   ‫ ܈‬In full immediately; or

B   ‫ ܆‬Lump sum payment of $ due immediately; balance due

         ‫ ܆‬not later than, or

         ‫ ܆‬in accordance with          ‫ ܆‬D,      ‫ ܆‬E,    ‫ ܆‬F,     or ‫ ܆‬G below; or

C   ‫ ܆‬Payment to begin immediately (may be combined with               ‫ ܆‬D,      ‫ ܆‬E, or       ‫ ܆‬G below); or

D   ‫ ܆‬Payment in equal installments of $ over a period of, to commence after the date of this judgment; or

E   ‫ ܆‬Payment in equal installments of $ over a period of, to commence after release from               imprisonment to a term of supervision; or

F   ‫ ܆‬Payment during the term of supervised release will commence within after release from imprisonment. The court                  will set the
    payment plan based on an assessment of the defendant’s ability to pay at that time; or

G   ‫ ܆‬Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are made to Clerk, U.S. District Court, Federal Bldg., 100 S. Clinton Street, P.O. Box 7367, Syracuse, N.Y. 13261-
7367, unless otherwise directed by the court, the probation officer, or the United States attorney. If a victim cannot be located, the restitution
paid to the Clerk of the Court for that victim shall be sent to the Treasury, to be retrieved when the victim is located.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

‫ ܆‬Joint and Several

    ‫ ܆‬Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.


    ‫ ܆‬The Court gives notice that this case involves other defendants who may be held jointly and severally liable for payment of all or
      part of the restitution ordered herein and may order such payment in the future.

‫ ܆‬The defendant shall pay the cost of prosecution.

‫ ܆‬The defendant shall pay the following court cost(s):

‫ ܈‬The defendant shall forfeit the defendant’s interest in the following property to the United States:

    The property outlined in the Preliminary Order of Forfeiture signed by the Court on February 9, 2018.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.




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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK


____________________________________

UNITED STATES OF AMERICA                   )
                                           )
              v.                           )      CRIMINAL CASE NO. 16-CR-339 (NAM)
                                           )
                                           )
CLIF J. SEAWAY,                            )
                                           )
                  Defendant                )
____________________________________



                                   NOTICE OF APPEAL


       Notice is hereby given that the above-named Defendant hereby appeals to the United

States Court of Appeals for the Second Circuit from the Judgment entered on May 3, 2018.



                                                  Respectfully submitted,

                                                  LISA A. PEEBLES
                                                  FEDERAL PUBLIC DEFENDER

                                           By:
                                                   S/James P. Egan, Esq.
                                                  Assistant Federal Public Defender
                                                  Bar Roll No. 515300
                                                  Office of the Federal Public Defender
                                                  4 Clinton Square, 3rd Floor
                                                  Syracuse, New York 13202
                                                  315-701-0080
TO:    United States Attorneys Office




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                           UNITED STATES DISTRICT COURT
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UNITED STATES OF AMERICA                   )
                                           )             CRIMINAL NO. 16-CR-340 (NAM)
              v.                           )
                                           )
CLIF J. SEAWAY,                            )
                     Defendant.            )


                                      NOTICE OF APPEAL


       Notice is hereby given that the above-named Defendant hereby appeals to the United
States Court of Appeals for the Second Circuit from the Judgment entered on May 3, 2018.




                                                  Respectfully submitted,
                                                  LISA A. PEEBLES
                                                  FEDERAL PUBLIC DEFENDER


                                           By:
                                                  S/James P. Egan, Esq.
                                                  Assistant Federal Public Defender
                                                  Bar Roll No. 515300
                                                  Office of the Federal Public Defender
                                                  4 Clinton Square, 3rd Floor
                                                  Syracuse, New York 13202
                                                  315-701-0080
TO: United States Attorney’s Office




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                           UNITED STATES DISTRICT COURT
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    ELECTRONIC NOTICE OF CRIMINAL APPEAL & CLERK’S CERTIFICATION


Dear Clerk of the Court,

       Please take notice that on May 10, 2018 the court received a notice of appeal. This notice
serves to inform you of the pending appeal and provides you with the information needed to
process the appeal.

       I, LAWRENCE K. BAERMAN, CLERK, U.S. District Court for the Northern District of New
York, DO, HEREBY CERTIFY that the foregoing docket entries, with the exception of the
documents listed below, are maintained electronically on the court’s CM/ECF system and constitute
the Record on Appeal in the below listed action.

        The following documents are not available electronically. Please notify the Albany Clerk’s
Office if you need any of the following documents:

Docket No.(s): #65- Sealed Application; #66- Sealed Sealing Order;#67 Sealed Witness List(Gov’t);
and #68 Sealed court Ordered Voir Dire by Gov’t; #90 Sealed Document and #91 Sealed Motion
in Limine; #117- Sealed Psychiatric Report.


                                     IN TESTIMONY WHEREOF, I have hereunto set my hand
                                     and caused the Seal of said Court to be hereto affixed at the
                                     City of Albany, New York, this 14th day of May, 2018.

                                     Lawrence K. Baerman, Clerk
                                     U.S. District Court



                                     By:     s/ M.Gallup-Hughes
                                             Deputy Clerk


                                       Case Information

Case Name & Case No.            United States of America v. Clif J. Seaway    5:16-cr-339
Docket No. of Appeal:           121
Document Appealed:              119- Judgment

Fee Status:    Paid                  Due                    Waived (IFP/CJA) X

Counsel:       CJA X                 Retained               Pro Se

Time Status: Timely X                Untimely




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                           UNITED STATES DISTRICT COURT
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    ELECTRONIC NOTICE OF CRIMINAL APPEAL & CLERK'S CERTIFICATION



Dear Clerk of the Court,

       Please take notice that on September 14, 2018 the court received a notice of appeal.
This notice serves to inform you of the pending appeal and provides you with the information
needed to process the appeal.

       I, JOHN M. DOMURAD, CLERK, U.S. District Court for the Northern District of New
York, DO, HEREBY CERTIFY that all the foregoing docket entries are maintained electronically
on the court's CM/ECF system and constitute the Record on Appeal in the below listed action.


                                    IN TESTIMONY WHERE OF, I have hereunto set my hand
                                    and caused the Seal of said Court to be hereto affixed at
                                    the City of Syracuse, New York, this 19th day of
                                    September, 2018.

                                    John M. Domurad, Clerk
                                    U.S. District Court

                                    s/

                                    By:      JJoanne Bleskoski
                                                     Bl k ki
                                             Deputy Clerk


                                         Case Information



Case Name & Case No.         USA v. Clif J. Seaway ~ 5:16-CR-340 (NAM)

Docket No. of Appeal:        69 – Notice of Appeal filed on 9/14/2018

Document Appealed:           63 – Judgment filed on 5/8/2018

Fee Status:                  Waived X_

Counsel:                     OFPD     X_

Time Status:                 Untimely X_




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